      Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 1 of 88


      Ashley M. Gjovik, JD
 1    Pro Se Plaintiff
 2    2108 N St. Ste. 4553
      Sacramento, CA, 95816
 3    (408) 883-4428
      legal@ashleygjovik.com
 4
 5                          UNITED STATES DISTRICT COURT
 6                          NORTHERN DISTRICT OF CALIFORNIA
 7                                                  Case No. 3:23-cv-04597-EMC
 8                                                  Filed: September 7 2023
 9                                                  District Judge: Honorable Edward M. Chen
10
      ASHLEY GJOVIK, an individual,                 MOTION FOR JUDICIAL NOTICE
11
                     Plaintiff,
12                                                  Hearing
                     v.
13                                                  Dept: Courtroom 5, 17th Floor (Virtual)

14                                                  Date: February 8, 2024 1:30 p.m.
      APPLE INC, a corporation,
                                                    Plaintiff Does Not Require Oral Arguments
15                   Defendant.
16
                                                    Concurrent with:
17
                                                    Defendant’s Motion to Dismiss (Doc #30)
18                                                  P’s Opposition to Motion to Dismiss (Doc #33)
19
20
21
22                        Motion for Judicial Notice Cover Page: Exhibit                8
23                                     2016 - California DTSC
24                                      2017 - North Carolina
25
26    Declaration: I verified the authenticity of each of these documents. A true and correction
27    version of each document is attached in each exhibit. I declare under penalty of perjury this is
28    true and correction. /s/ Ashley M. Gjovik (December 25 2023).


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     PLAINTIFF’S MOTION FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC                    DECEMBER 25 2023
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                     MOTION FOR JUDICIAL NOTICE
 9
                              EXHIBIT
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12                                   SECTION:
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                               California DTSC v Apple
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                                           2016
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17                              Cal. EPA Press Release
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     PLAINTIFF’S MOTION FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC   DECEMBER 25 2023
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 3 of 88
Apple Agrees to Pay $450,000 to Settle Hazardous Waste Violations | Department of Toxic Substances Control                     5/11/21, 5:58 PM




  News Release
                                                                                                                             T – 19 – 16
                                                                                                               Barbara A. Lee, Director


  FOR IMMEDIATE RELEASE
  December 6, 2016                                                                                           Contact: Sanford (Sandy) Nax
                                                                                                                           (916) 327-6114
                                                                                                                Sanford.Nax@dtsc.ca.gov



              Apple Agrees to Pay $450,000 to Settle Hazardous Waste
                                    Violations

  SACRAMENTO – A settlement agreement between the California Department of Toxic Substances Control (DTSC)
  and Apple Inc. was !led in Santa Clara County Superior Court by the California Attorney General’s O"ce on behalf
  of DTSC.

  Apple has agreed to pay $450,000 to DTSC and to increase facility inspections to settle allegations of hazardous
  waste violations at facilities in Silicon Valley. The settlement stems from violations that DTSC found during a June
  13, 2013 inspection of an Apple electronic waste shredding facility in Sunnyvale and a subsequent review of
  records. DTSC discovered that Apple had opened, operated and then closed an electronic waste shredding facility
  from 2011 to 2012 in Cupertino without DTSC’s knowledge and without complying with universal waste
  regulations,
  including the mismanagement of metal dust from shredder operations.

  Apple processed about 1.1 million pounds of electronic waste at the Cupertino facility before closing it in January
  2013, and shifting operations to a facility in Sunnyvale. In Sunnyvale, Apple dismantled, shredded and disposed of
  more than 800,000 pounds of electronic waste before notifying DTSC of the plant’s existence and complying with
  all universal waste regulations.

  Universal waste, such as electronic devices, batteries and other discarded consumer products containing
  hazardous substances, are subject to California universal waste regulations. Since they are considered a type of
  hazardous waste, universal waste handlers who accept universal waste must notify DTSC and handle the waste
  according to management standards required by law.

  The shredding process produces a !ne dust that is collected by a baghouse and !lter system. The dust is classi!ed
  as a hazardous waste due to the concentration of metals. The shredded devices are shipped o#site for recycling
  and sold as scrap metal. Apple, however, shipped hazardous dust and $oor sweep from Sunnyvale to a recycling
  facility in Roseville that was not authorized to handle Apple’s hazardous waste.

  After the inspection, records review and dust sampling, DTSC alleged the following violations:
https://dtsc.ca.gov/2016/12/06/apple-agrees-to-pay-450000-to-settle-hazardous-waste-violations/                                     Page 1 of 2
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 4 of 88
Apple Agrees to Pay $450,000 to Settle Hazardous Waste Violations | Department of Toxic Substances Control       5/11/21, 5:58 PM


  After the inspection, records review and dust sampling, DTSC alleged the following violations:

            Transportation of hazardous waste without a proper manifest

            Failing to report and track exports of hazardous waste

            Failing to label or otherwise mark used oil containers as “hazardous waste”
            Failing to provide notice of closure for the facility in Cupertino

            Failing to submit a written closure plan and cost estimate for closing the facility in Cupertino and for
            eventual closure of the one in Sunnyvale

            Failing to demonstrate !nancial assurance to fund the eventual closure of the two facilities


       “Compliance with the hazardous waste law is fundamental in protecting the health of workers and
       communities as well as the environment,” said Keith Kihara, Chief of DTSC’s enforcement division. “We
       are encouraged by the settlement and that Apple is working with us to take the necessary steps to
       comply with California’s hazardous waste law.”



  As part of the settlement, Apple has agreed to maintain a closure plan and !nancial insurance for the facility,
  conduct weekly inspections of areas where hazardous waste is generated and stored, and will ensure that
  electronic waste, including shredded electronic waste, is properly labeled and not put into containers with dust
  derived from its shredding operations.

  View the Complaint for Civil Penalties

  View the Final Judgment Pursuant to Stipulation

                                                                          ###

  FOR GENERAL INQUIRIES: Contact the Department of Toxic Substances Control by phone at (800) 728-6942 or visit
  www.dtsc.ca.gov. To report illegal handling, discharge, or disposal of hazardous waste, call the Waste Alert Hotline
  at (800) 698-6942.


     DTSC’s Mission is to protect California’s people, communities, and environment from toxic substances, to
     enhance economic vitality by restoring contaminated land, and to compel manufacturers to make safer
     consumer products.




https://dtsc.ca.gov/2016/12/06/apple-agrees-to-pay-450000-to-settle-hazardous-waste-violations/                        Page 2 of 2
            Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 5 of 88

                            C AL I F O R N I A E N V I R O N M E N T AL P R O T E C T I O N AG E N C Y
                            Department of Toxic Substances Control

                                           News Release

                                                                                           T – 19 – 16
                                                                              Barbara A. Lee, Director
FOR IMMEDIATE RELEASE                                                     Contact: Sanford (Sandy) Nax
December 6, 2016                                                                        (916) 327-6114


Apple Agrees to Pay $450,000 to Settle Hazardous Waste Violations
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After the inspection, records review and dust sampling, DTSC alleged the following violations:

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      Failing to label or otherwise mark used oil containers as “hazardous waste”
      Failing to provide notice of closure for the facility in Cupertino
            Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 6 of 88


      Failing to submit a written closure plan and cost estimate for closing the facility in Cupertino
       and for eventual closure of the one in Sunnyvale
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“Compliance with the hazardous waste law is fundamental in protecting the health of workers and
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and will ensure that electronic waste, including shredded electronic waste, is properly labeled and
not put into containers with dust derived from its shredding operations.

Here is a link to the Complaint for Civil Penalties:
http://www.dtsc.ca.gov/HazardousWaste/Projects/upload/Apple_Complaint.pdf

Here is a link to the Final Judgment Pursuant to Stipulation:
http://www.dtsc.ca.gov/HazardousWaste/Projects/upload/Apple_Final-Judgment.pdf




                                                ###

FOR GENERAL INQUIRIES: Contact the Department of Toxic Substances Control by phone at
(800) 728-6942 or visit www.dtsc.ca.gov. To report illegal handling, discharge, or disposal of
hazardous waste, call the Waste Alert Hotline at (800) 698-6942.
 The mission of DTSC is to protect California’s people and environment from harmful effects of
 toxic substances by restoring contaminated resources, enforcing hazardous waste laws,
 reducing hazardous waste generation, and encouraging the manufacture of chemically safer
 products.
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                     MOTION FOR JUDICIAL NOTICE
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     PLAINTIFF’S MOTION FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC   DECEMBER 25 2023
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 1   KAMALA D. HARRIS                                           Exempt from Fees Pursuant to
     Attorney General of California                             Government Code section 6103
 2   MARGARITA PADILLA
 3   Supervising Deputy Attorney General
     REED SATO (SB #87685)
 4   Deputy Attorney General
      1300 I Street, Suite 125
 5    P.O. Box 944255
      Sacramento, CA 94244-2550
 6
      Telephone: (916) 445-5442
 7    Fax: (916) 322-5609
      E-mail: Reed.Sato@doj.ca.gov
 8   Attorneys for Plaintiff People of the State of
     California, ex. rel. Department of Toxic Substances
 9   Control
10                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
11                                     COUNTY OF SANTA CLARA
12

13
     PEOPLE OF THE STATE OF                               Case No.
14
     CALIFORNIA, EX. REL., BARBARA A. LEE,
15   DIRECTOR OF THE DEPARTMENT OF TOXIC
     SUBSTANCES CONTROL,
16                                                        COMPLAINT FOR CIVIL PENAL TIES
                                             Plaintiff,   AND INJUNCTIVE RELIEF
17
                    v.                                    [Health and Safety Code,§§ 25100 et seq.]
18

19   APPLE INC., A CALIFORNIA CORPORATION,
20                                         Defendant.
21

22
           Plaintiff, the People of the State of California, ex rel. Barbara A. Lee, Director of the
23
     Department of Toxic Substances Control, alleges:
24
                                       NATURE OF THE ACTION
25
            1.    This is a civil action for injunctive relief and civil penalties under California's
26
     Hazardous Waste Control Law ("HWCL"), Health and Safety Code§ 25100 et seq., and
27
     regulations contained in California Code of Regulations, title 22, division 4.5, section 66260.1 et
28


                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 9 of 88



1    seq.("Title 22"), pertaining to the storage, handling, management, treatment and disposal of

2    hazardous waste, and the maintenance of closure plans and financial assurance mechanisms for

3    closure and liability. The HWCL and its implementing regulations establish comprehensive

4    cradle to grave standards for the generation, storage, transportation, treatment and disposal of

5    hazardous waste in California. The California Department of Toxic Substances Control

6    ("Department") is the state agency organized and existing pursuant to sections 58000 et seq. of

7    the California Health and Safety Code. The Department is the state agency responsible for

 8   administering and enforcing the HWCL and its implementing regulations. (Health & Saf. Code, §

9    25100 et seq.; Cal. Code Regs., tit. 22, § 66260.1 et seq.)

10         2.     Plaintiff seeks injunctive relief and civil penalties against defendant pursuant to

11   sections 25181, 25184, 25189 and 25189.2 of the Health and Safety Code for violations of the

12   HWCL and Title 22.

13         3.     Pursuant to an on-site inspection on June 13, 2013, of a facility operated by

14   Defendant Apple, Inc. , ("Apple") in Sunnyvale, California and a subsequent review of records,

15   the Department discovered various violations of the HWCL and its implementing regulations at

16   electronic waste shredding facilities operated by Apple in Santa Clara County. Upon further

17   investigation, the Department discovered that Apple had opened, operated and closed an

18   electronic waste processing facility in Cupertino, California with inadequate regulatory oversight

19   or compliance with applicable environmental laws. In this action, the Department seeks

20   injunctive relief and civil penalties against Apple for the violations of the HWCL and Title 22.

21                                               PLAINTIFF

22         4.     Barbara A. Lee is the Director of the Department.

23         5.     Pursuant to Sections 25181, subdivision (a) and 25182 of the California Health and

24   Safety Code, the Attorney General may, at the Department's request, commence an action for

25   civil penalties and injunctive relief under the HWCL in the name of the People of the State of

26   California. The Department has made such a request to the Attorney General.

27

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                                                       2
                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 10 of 88




1                                               DEFENDANT

2          6.     Defendant Apple is a California corporation, with its principal place of business in

3    Cupertino, California.

4          7.     Defendant Apple is a "person" as defined in Health and Safety Code section 25118.

5          8.     In this Complaint when reference is made to any act or omission of defendant Apple,

6    such allegations shall include the acts and omissions of owners, officers, directors, agents,

7    employees, contractors, affiliates, and/or representatives of defendant Apple while acting within

8    the course and scope of their employment or agency on behalf of defendant Apple during the

9    relevant time periods.

10                                    JURISDICTION AND VENUE

11         9.     This Court has jurisdiction pursuant to Cal. Const., art. VI, § 10, and Health and

12   Safety Code section 25181, subdivision (a) ..

13         10.    Venue is proper in Santa Clara County Superior Court under Health and Safety Code

14   section 25183, because the violations at issue occurred in Santa Clara County, and because

15   Apple's principal place of business is in Santa Clara County.

16                  HWCL STATUTORY AND REGULATORY BACKGROUND

17         11.   The State of California has enacted a comprehensive statutory and regulatory

18   framework for the generation, handling, treatment, transport and disposal of hazardous wastes.

19   The framework contained in the HWCL, and its implementing regulations, mandate a "cradle to

20   grave" registration, tracking, storage, treatment and disposal system for the protection of the

21   public from the risks posed by hazardous wastes. Except where otherwise expressly defined in

22   this Complaint, all terms shall be interpreted consistent with the HWCL and Title 22.

23         12.   California administers the HWCL in lieu of federal administration of the federal

24   Resource Conservation and Recovery Act ("RCRA"), which is codified at 42 United States Code

25   sections 6901 et seq., pursuant to Health & Safety Code sections 25101, subdivision (d), and

26   25159-25159.9. Federal law prohibits California from imposing any requirements less stringent

27   than those authorized under RCRA. (42 U.S.C. § 6929.) The HWCL has a more inclusive

28   definition of "hazardous waste" than does federal law. Hazardous wastes that are regulated under
                                                       3
                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 11 of 88




1    California law but not federal law are known as "non-RCRA hazardous wastes." (Health & Saf.

2    Code,§ 25117.9.)

3          13.   The HWCL charges the Department with the responsibility to adopt standards and

4    regulations for the management of hazardous waste to protect the public health and environment.

5    (Health & Saf. Code,§ 25150.) Accordingly, the Department has promulgated regulations setting

6    forth numerous and extensive environmental and health -protective requirements for the day-to-

7    day operation of hazardous waste generators, transporters, as well as owners and operators of

 8   hazardous waste facilities. (See Cal. Code. Regs., tit. 22, § 66262.1 et seq.)

9          14.   Under Section 25189 of the Health and Safety Code, a person who intentionally or

10   negligently violates a provision of the HWCL, or any permit, rule, regulation, standard, or

11   requirement issued or promulgated pursuant to the HWCL, shall be liable for a civil penalty not to

12   exceed twenty-five thousand dollars ($25,000) for each separate violation or, for continuing

13   violations, for each day that the violation continues. Alternatively, a person may be strictly liable

14   for any such violation under Section 25189.2. For continuing violations, the HWCL authorizes

15   the Court to impose a penalty of up to twenty five thousand dollars ($25,000) for each day that a

16   violation continues. (Health & Saf. Code,§§ 25189, subd. (b) and 25189.2, subd. (b).) A person

17   may not be held liable for a civil penalty imposed under section 25189 and for a civil penalty

18   imposed under section 25189.2 for the same act. (Health & Saf. Code,§ 25189.2, subd. (f).)

19         15.   The HWCL, at Health and Safety Code sections 25181 and 25184, authorizes and

20   directs the Court to enjoin any ongoing or potential violation of the HWCL.

21         16.   Section 25181 of the Health and Safety Code provides that when the Department

22   determines that any person has engaged in, is engaged in, or is about to engage in any acts or

23   practices which constitute or will constitute a violation of any provision of the HWCL or any rule

24   or requirement issued or promulgated thereunder, and when requested by the Department, the

25   Attorney General may make application to the superior court for an order enjoining such acts or

26   practices, or for an order directing compliance, and upon a showing by the Department that such

27   person has engaged in or is about to engage in any such acts or practices, a permanent or

28   temporary injunction, restraining order, or other order may be granted.
                                                       4

                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 12 of 88




1          17.   Health and Safety Code section 25184 provides that in civil actions brought pursuant

2    to the HWCL in which an injunction or temporary restraining order is sought:

3         It shall not be necessary to allege or prove at any stage of the proceeding that irreparable

4         damage will occur should the temporary restraining order, preliminary injunction, or

5          permanent injunction not be issued; or that the remedy at law is inadequate, and the

6          temporary restraining order, preliminary injunction, or permanent injunction shall issue

7          without such allegations and without such proof.

 8         18.    Universal wastes such as electronic devices, batteries and other consumer products

9    that contain hazardous substances are a subset of hazardous waste subject to the Department's

10   universal waste regulations, title 22, division4.5, chapter 23 of the California Code of

11   Regulations, as well as other applicable provisions of law.

12         19.    Discarded electronic devices are a universal waste, and any person who manages

13   such devices is a universal waste handler. (22 Cal. Code Regs. § 66273.3.)

14         20.    A universal waste handler who manages a universal waste and its integral

15   components is generally authorized by the Department to conduct those activities, provided the

16   universal waste handler complies with all the applicable requirements of the regulations. (22 Cal.

17   Code Regs.§ 66273.70.)

18

19                          ALLEGATIONS COMMON TO ALL CLAIMS

20         21.    During some part of 2011 and throughout 2012, Apple operated a facility at 10501

21   Tantau Avenue in Cupertino, California, at which it dismantled, shredded and disposed of Apple

22   brand electronic devices (hereafter, "Tantau Avenue Facility"). In January 2013, Apple ceased

23   these operations at the Tantau Avenue Facility, and relocated equipment and operations from the

24   Tantau Avenue Facility to 1330 Kifer Road in Sunnyvale (hereafter, "Sunnyvale Facility"). In or

25   about January 2013, Apple began similar processes of dismantling, shredding and disposing of its

26   electronic devices at the Sunnyvale Facility.
27         22.    Apple's protocol for disposing and processing discarded electronic devices at its

28   shredding facilities, including the Tantau Avenue Facility and the Sunnyvale Facility, includes
                                                      5
                                           COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
      Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 13 of 88




1    removing batteries from the devices for separate handling before the devices are shredded. Apple

2    ships waste lithium batteries off-site for purposes of recycling, and has exported these batteries at

3    times to foreign countries for this purpose.

4          23.    Apple's electronic waste shredding operations produce a fine dust that is collected,

5    bagged and removed daily ("baghouse dust"). Apple personnel use a vacuum device that collects

6    a fine dust, among other things, from the floors of the facility ("floor sweep").

7          24.    After shredding the electronic devices, Apple ships the shredded waste off-site for

 8   recycling as scrap metal. Historically, Apple shipped baghouse dust, shredded waste, and floor

9    sweep waste to Sims Recycling Solutions, Inc. in Roseville, California (SRS Roseville).

10         25.    Department personnel inspected the Sunnyvale Facility on June 13, 2013. During

11   this inspection, Department pers01mel observed Apple's waste handling practices and took

12   samples of the baghouse dust and floor sweep waste.

13         26.    The Department tested samples of the baghouse dust and floor sweep waste taken

14   from the Sunnyvale Facility and found that these wastes contained hazardous constituents,

15   including hazardous levels of copper and zinc, and particles less than 100 microns in size.

16         27.    Through a review of Apple's records and subsequent investigation, the Department

17   discovered that Apple had processed similar electronic waste using similar operations and

18   practices at the Tantau Avenue Facility, prior to closing that facility and transferring operations to

19   the Sunnyvale Facility.

20         28.     Apple generated, treated and, at times, transported universal waste as a result of

21   dismantling, shredding and disposing of discarded electronic devices at both the Tantau A venue

22   and Sunnyvale Facilities.

23         29.   According to Apple's records, Apple processed approximately 1,121,847 pounds of

24   electronic waste at the Tantau A venue Facility in 2011 and 2012. Apple processed this electronic

25   waste without informing the Department of the existence of this facility, or complying with the

26   Department's universal waste regulations.

27         30.     Apple processed approximately 803,518 pounds of electronic waste at the Sunnyvale

28   Facility prior to informing the Department of the existence of this facility, or complying with all
                                                       6

                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 14 of 88




 1   of the requirements of the Department's universal waste regulations.

 2         31.     As a result of the Department's June 13, 2013 inspection of the Sunnyvale Facility,

 3   the Department's review of Apple's records and samples taken by the Department during the

 4   inspection, the Department noted the following violations:

 5         •      Failure to submit written closure plan and cost estimate for closure for Tantau

 6   Avenue and Sunnyvale Facilities (Cal. Code Regs, tit. 22, § 66273.76, subds. (a) and (b)).

 7         •      Failure to demonstrate financial responsibility for liability for Tantau A venue and

 8   Sunnyvale Facilities (Cal. Code Regs., tit. 22, § 66273.76, subd. (c)).

 9         •      Failure to demonstrate financial assurance to fund the cost of closure for Tantau

10   Avenue and Sunnyvale Facilities (Cal. Code Regs., tit. 22, § 66273.76, subd. (d)).

11         •      Failure to provide notice of closure for Tantau A venue Facility (Cal. Code Regs., tit.

12   22, § 66273.77, subd. (a)).

13         •      Causing treatment and disposal of hazardous waste at an unauthorized point, at and

14   from Sunnyvale Facility (Health & Saf. Code,§ 25189.2, subds. (c) and (d)).

15         •      Transportation of hazardous waste without manifests from Sunnyvale Facility (Health

16   & Saf. Code §25160, Cal. Code Regs., tit. 22, §§ 66262.20, 66262.23. 66268.7).
17         •      Failure to report and track export of hazardous waste from Tantau A venue Facility

18   (Health & Saf. Code§ 25162.1, Cal. Code Regs, tit. 22, §§ 66273.40, 66262.53, 66262.56,

19   66262.57).

20         •       Failure to label or otherwise clearly mark used oil containers as "Hazardous Waste"
21   (Cal. Code Regs., tit. 22, § 66262.34, subd. (f)).

22                                      FIRST CAUSE OF ACTION
23                    (Failure to maintain closure plan and cost estimate for closure)
                          (Cal. Code Regs., tit. 22, § 66273.76, subds. (a) and (b))
24                                       (Tantau Avenue Facility)
25         32.    The People re-allege paragraphs one through 31, above.
26         33.    California Code of Regulations, title 22, section 66273.76, requires that no later than

27   30 days prior to beginning treatment of universal waste, such as electronic devices, the operator
28
                                                          7

                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
      Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 15 of 88




 1   of the facility must submit a closure plan to the Department that meets all of the requirements of

 2   subdivision (a), and a cost estimate for closure that meets the requirements of subdivision (b).
 3         34.   Apple dismantled, shredded and disposed of electronic devices at the Tan tau Avenue
 4   Facility during 2011 and 2012 without ever submitting a closure plan or cost estimate for closure
 5   to the Department.

 6         35. Apple is liable for a civil penalty under Health and Safety Code section 25189 or,
 7   alternatively, under section 25189.2, for treating electronic waste at the Tantau Avenue Facility
 8   without ever submitting a closure plan and closure cost estimate to the Department, in violation of
 9   California Code of Regulations, title 22, section 66273.76, subdivisions (a) and (b).
10                                   SECOND CAUSE OF ACTION
11                   (Failure to maintain closure plan and cost estimate for closure)
                          (Cal Code Regs., tit. 22, § 66273.76, subds. (a) and (b))
12                                         (Sunnyvale Facility)
13         36.   The People re-allege paragraphs one through 31, above.
14         37.   Apple began dismantling, shredding and disposing of electronic devices, a universal

15   waste, at the Sunnyvale Facility in January 2013 without having submitting a closure plan or cost

16   estimate for closure to the Department at least 30 days prior to beginning these operations.
17         38.   Apple did not submit a closure plan for the Sunnyvale Facility to the Department, as

18   required by subdivision (a) of section 66273.76, until November 18, 2013.
19         39.   Apple first submitted a cost estimate for closure of the Sunnyvale Facility to the

20   Department, according to the requirements of subdivision (b) of section 66273.76, on November
21   18, 2013.

22         40.   Apple is liable for a civil penalty under Health and Safety Code section 25189 or,

23   alternatively, under section 25189.2, for treating electronic waste at the Sunnyvale Facility for

24   more than 10 months prior without a closure plan and closure cost estimate required by California

25   Code of Regulations, title 22, section 66273.76, subdivisions (a) and (b).
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                                           COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
      Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 16 of 88




 1                                     THIRD CAUSE OF ACTION
 2                        (Failure to document financial assurance for closure)
                             (Cal. Code Regs., tit. 22, § 66273.76, subd. (d))
 3                                      (Tantau A venue Facility)
 4         41.   The People re-allege paragraphs one through 31, above.
 5         42.   California Code of Regulations, title 22, section 66273.76, subdivision (d) requires

 6   that, no later than 30 days prior to beginning treatment of universal waste, the operator of the

 7   treatment facility must submit to the Department documentation demonstrating financial

 8   assurance for the purpose of funding the cost of closure for that facility.
 9         43.   Apple dismantled, shredded and disposed of electronic devices, a universal waste, at

10   the Tantau Avenue Facility during some period of time in 2011 and for all of 2012, without ever

11   submitting documentation of financial assurance for closure of the Facility to the Department.
12         44.   Apple is liable for a civil penalty under Health and Safety Code section 25189 or,
13   alternatively, under section 25189.2, for treating electronic waste for more than one year at the
14   Tantau Avenue Facility without providing documentation of financial assurance for the cost of
15   closure to the Department, in violation of California Code of Regulations, title 22, section
16   66273.76, subdivision (d).

17                                    FOURTH CAUSE OF ACTION
18                        (Failure to document financial assurance for closure)
                            (Cal. Code Regs., tit. 22, §§ 662673.76, subd. (d))
19                                        (Sunnyvale Facility)
20         45.   The People re-allege paragraphs one through 31, above.
21         46.   California Code of Regulations, title 22, section 66273.76, subdivision (d) requires

22   that, no later than 30 days prior to beginning the handling and treatment of universal waste, a

23   universal waste handler must submit to the Department documentation demonstrating financial

24   assurance for the purpose of funding the cost estimate for closure for that facility.
25         47.   Apple began handling, dismantling, shredding and disposing of discarded electronic

26   devices, a universal waste, at the Sunnyvale Facility in January 2013, without first submitting

27   documentation of financial assurance for closure of that facility to the Department.
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                                                       9
                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
      Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 17 of 88




 1         48.   Prior to the Department's inspection of the Sunnyvale Facility, on June 13, 2013, the

 2   Department had notified Apple of the lack of financial assurance documentation for the Facility.

 3         49.   As of the date of the Department's inspection of the Smmyvale Facility on June 13,

 4   2013, Apple still had not submitted documentation of financial assurance for closure.

 5         50.   Section 66273.76, subdivision (d), requires a universal waste handler to "prepare and

 6   submit documentation demonstrating financial assurance for closure to fund the cost estimate for

 7   closure, pursuant to section 66265.143, subsections (a) through (h)." Section 66265.143 provides

 8   several options for demonstrating financial assurance.

 9         51.   Apple first submitted adequate documentation of financial assurance for closure of

10   the Sunnyvale Facility, utilizing the mechanism provided by section 66265.143, subdivision (e),
11   on November 18, 2013.

12         52.   Section 66265.143, subsection (e)(4) provides that updated information shall be sent

13   to the Department "within 90 days after the close of each succeeding fiscal year."

14         53.   The fiscal year for the mechanism Apple chose to demonstrate financial assurance for
15   closure ended on September 27, 2014.

16         54.   Apple failed to timely update or re-submit to the Department an approved mechanism

17   to demonstrate financial assurance for closure of the Sunnyvale Facility by December 27, 2014.

18   Apple ultimately submitted a new mechanism for financial assurance for closure to the

19   Department on March 16, 2015.

20         55.   Apple is liable for a civil penalty under Health and Safety Code section 25189 or,

21   alternatively, under section 25189.2, for continuing violations of California Code of Regulations,

22   title 22, section 66273.76, subdivision (d) for: (1) treating electronic waste at the Sunnyvale

23   Facility for more than 10 months without complying with the financial assurance for closure

24   requirements of subdivision (d), and (2) continuing to operate the Sunnyvale Facility after

25   December 27, 2014 without an updated mechanism for financial assurance for closure, for an

26   additional 79 days in violation of this regulation.
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                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 18 of 88




 1                                        FIFTH CAUSE OF ACTION
 2                      (Failure to demonstrate financial responsibility for liability)
                               (Cal. Code Regs., tit. 22, § 66273.76, subd. (c))
 3                                       (Tantau Avenue Facility)
 4         56.    The People re-allege paragraphs one through 31, above.
 5         57.    California Code of Regulations, title 22, section 66273.76, subdivision (c) requires a

 6   universal waste handler to submit documentation to the Department demonstrating financial

 7   responsibility for liability thirty days prior to beginning operations.
 8         58.    Apple did not submit to the Department documentation of financial responsibility for
 9   liability for the Tantau Facility at all.
10         59.    Apple is liable for a civil penalty under Health and Safety Code section 25189 or,

11   alternatively, under section 25189.2, for treating electronic waste at the Tantau Avenue Facility

12   for more than one year without submitting documentation of financial responsibility for liability

13   to the Department, in violation of California Code of Regulations, title 22, section 66273.76,
14   subdivision (c).
15
                                          SIXTH CAUSE OF ACTION
16
                        (Failure to demonstrate financial responsibility for liability)
17                             (Cal. Code Regs., tit. 22, § 66273.76, subd. (c))
                                           (Sunnyvale Facility)
18
           60.    The People re-allege paragraphs one through 31, above.
19
           61.    California Code of Regulations, title 22, section 66273.76, subdivision (c) requires a
20
     universal waste handler to submit documentation to the Department demonstrating financial
21
     responsibility for liability, at least 30 days prior to beginning operations.
22
           62.    Apple began dismantling, shredding and disposing of electronic devices at the
23
     Sunnyvale Facility in January 2013, without first submitting to the Department the required
24
     documentation of financial responsibility for liability with respect to operations at the Facility.
25
           63.    Apple first submitted documentation of financial responsibility for liability for the
26
     Sunnyvale Facility on November 18, 2013.
27

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                                                 COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
      Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 19 of 88




1          64.   To remain in compliance with the financial responsibility requirements for the

2    mechanism that Apple chose (section 66265.147, subsection (f)(3)), the owner or operator is

3    required to send complete updated information to the Department within 90 days after the close of

4    each succeeding fiscal year.

5          65.   The fiscal year for the mechanism Apple chose to demonstrate financial responsibility

6    for liability ended on September 27, 2014. Apple was therefore required to submit updated

7    documentation within 90 days of September 27, 2014.

8          66.   Apple failed to timely update or re-submit a mechanism for financial responsibility

9    for liability to the Department by December 27, 2014.

10         67.   Apple submitted to the Department a new mechanism for financial responsibility for

11   liability for the Sunnyvale Facility on March 16, 2015.

12         68.   Apple is liable for a civil penalty under Health and Safety Code section 25189 or,

13   alternatively, under section 25189.2, for successive violations of California Code of Regulations,

14   title 22, section 66273.76, subdivision (c) for: (1) treating electronic waste at the Sunnyvale

15   Facility for more than 10 months without complying with the financial responsibility for liability

16   requirements of subdivision (c), and (2) continuing to operate the Facility after December 27,

17   2014, without updating its financial responsibility for liability, for an additional 79 days in

18   violation of this regulation.

19                                   SEVENTH CAUSE OF ACTION

20                                  (Failure to provide notice of closure)
                               (Cal. Code Regs., tit. 22, § 66273.77, subd. (a))
21                                        (Tantau A venue Facility)
22         69.    The People re-allege paragraphs one through 31, above.

23         70.    California Code of Regulations, title 22, section 66273.77, subdivision (a), provides

24   that a universal waste handler who intends to close a universal waste handling and/or treatment

25   facility, or to cease such operations, must notify the Department thirty days prior to closure.

26         71.    In or about January 2013, Apple closed the Tantau Avenue Facility for the handling

27   and treatment of universal waste without notifying the Department of the closure, or of the last

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                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 20 of 88




 1   day on which Apple intended to conduct treatment and/or handling of universal waste at this

 2   Facility.

 3         72.   Apple is liable for a civil penalty under Health and Safety Code section 25189 or,
 4   alternatively, under section 25189.2, for violation of California Code of Regulations, title 22,
 5   section 66273.77, subdivision (a), for failure to timely and properly notify the Department of the

 6   closure of, and cessation of waste handling and treatment at, the Tantau A venue Facility.

 7                                    EIGHTH CAUSE OF ACTION
 8           (Causing the treatment and storage of hazardous waste at unauthorized point)
                             (Health & Saf. Code§ 25189.2, subd. and (d))
 9                                       (Sunnyvale Facility)
10         73.   The People re-allege paragraphs one through 31 above.

11         74.   Health and Safety Code section 25189.2, subdivision (d) makes it unlawful to treat or

12   store or cause the treatment or storage of a hazardous waste at a point that is not authorized for

13   such treatment or storage.

14         75.   Apple caused the unlawful storage and treatment of hazardous waste by shipping the

15   baghouse dust and floor sweep waste from the Sunnyvale Facility to SRS Roseville, as non-

16   hazardous waste. SRS Roseville stored and treated this waste as non-hazardous before export to

17   Canada. SRS Roseville is not authorized to store or treat the hazardous waste from Apple's

18   Sunnyvale facility.

19         76.   Apple is liable for a civil penalty under Health and Safety Code section 25189.2,
20   subdivisions (c) , for causing the unauthorized treatment and storage of hazardous waste.
21                                     NINTH CAUSE OF ACTION
22                        (Transport of hazardous waste without manifest)
         (Health & Saf. Code §25160, Cal. Code Regs., tit. 22, §§ 66262.20, 66262.23, 66268.7)
23                                      (Sunnyvale Facility)
24         77.    The People re-allege paragraphs one through 31, above.
25         78.    Health and Safety Code section 25160, subdivision (b)(l) provides that a person

26   generating hazardous waste that is transported, or submitted for transportation, for offsite

27   handling, treatment, storage, disposal, or any combination thereof, shall complete a manifest

28   according to the Department's manifest requirements (Cal. Code Regs., tit. 22, §§ 66262.20,
                                                      13

                                           COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 21 of 88




1    66262.23), prior to the time the waste is transported or offered for transportation.

2          79.      A generator of hazardous waste is required to determine whether or not waste to be

3    transported offsite is hazardous, and to comply with the requirements for shipping waste that is

4    hazardous. (22 Cal. Code Regs. section 66268.7.)

5          80.      From about January 2013 through June 13, 2013, Apple shipped an hazardous waste

6    (baghouse dust) from the Sunnyvale Facility to SRS Roseville, without complying with the

7    uniform manifest requirement for transportation of hazardous waste. Apple did not label or

 8   otherwise identify the shipments of hazardous waste (baghouse dust) to SRS Roseville as

9    hazardous.

10         81.      SRS Roseville is not an authorized point for the receipt and treatment of hazardous

11   waste.

12         82.      Because Apple failed to comply with the manifest requirements, SRS Roseville

13   received, treated and disposed of hazardous waste without being informed by Apple of the

14   waste's hazardous nature, and the Department was unable to track the quantity of the hazardous

15   waste and the location of its disposal.

16            83.   Apple is liable for a civil penalty under Health and Safety Code section 25189 or,

17   alternatively, under section 25189.2, for violation of Health and Safety Code Section 25160 and

18   California Code of Regulations, title 22, sections 66262.20, 66262.23, and 66268.7, for

19   transporting hazardous waste from the Sunnyvale Facility without a manifest.

20

21                                      TENTH CAUSE OF ACTION

22                     (Failure to notify, report and track export of hazardous waste)
                     (Cal. Code Regs, tit. 22, §§ 66273.40, 66262.53, 66262.56, 66262.57)
23                                         (Tantau Avenue Facility)
24            84.   The People re-allege paragraphs one through 31, above.

25            85.   Health and Safety Code section 25162.1 contains detailed requirements for

26   exporting waste to foreign countries.

27            86.   California Code of Regulations, title 22, section 66273.40, subdivision (a)(2)

28   provides additional regulatory requirements for exporting universal waste to a foreign destination
                                                       14
                                               COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 22 of 88




 1   in a country other than an Organization for Economic Cooperation and Development (OECD)

2    country specified in section 66262.58(a)(l).

3          87.    On October 13, 2012, and again on November 3, 2012, Apple shipped universal

4    waste lithium batteries to Canada from the Tantau Avenue Facility without complying with the

5    applicable statutory and regulatory requirements for exporting a universal waste to a non-OECD

6    country. The Department's review of Apple's records and the Department's own database

7    indicates that for both of these shipments Apple failed to comply with the notification (section

 8   66262.53), annual reporting (section 66262.56), and tracking (section 66262.57 ) requirements, as

9    well as the requirements of Health and Safety Code section 25162.1, subsections (a) and (b).

10         88.    Apple is liable for civil penalties under Health and Safety Code section 25189 or,

11   alternatively, under section 25189.2, for failure to notify, report and track exports hazardous

12   waste to Canada from the Tantau Avenue Facility without complying with statutory and

13   regulatory requirements.

14                                  ELEVENTH CAUSE OF ACTION

15                                   (Failure to label hazardous waste)
                                   (Cal. Code Regs, tit. 22, § 66262.34(0)
16                                          (Sunnyvale Facility)
17         89.    The People re-allege paragraphs one through 31, above.

18         90.    California Code of Regulations, title 22, s,ection 66262.34, subdivision (f) provides

19   that generators who accumulate hazardous waste on site without a permit or grant of interim

20   status shall, among other things, label or clearly mark each container and tank used for onsite

21   accumulation of hazardous waste with the words, "Hazardous Waste."

22         91.    On June 13, 2013, during the Department's inspection of the Sunnyvale Facility,

23   Department personnel observed three five-gallon used oil containers that were not labeled or

24   otherwise marked as "Hazardous Waste" as required pursuant to California Code of Regulations,

25   title 22, section 66262.34, subdivision (f).

26         92.    Apple is liable for a civil penalty under Health and Safety Code section 25189 or,

27   alternatively, under section 25189 .2, for violation of California Code of Regulations, title 22,

28
                                                       15
                                            COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 23 of 88




 1   section 66262.34 subdivision (f), for failure to label used oil containers as "Hazardous Waste."

 2   PRAYER FOR RELIEF

 3             The People of the State of California, by and through the Department, request the following

 4   relief:

 5             1.   Judgment finding that Apple has violated the HWCL and its implementing

 6   regulations as described in the First through Eleventh Causes of Action;

 7             2.   Judgment against Apple for civil penalties in accordance with proof but in an amount

 8   of no less than $450,000 (four hundred-fifty thousand dollars) for violations described in the First

 9   through Eleventh Causes of Action; and

10             3.   For an injunction ordering Apple, its agents, servants, employees, representatives, and

11   all persons acting within the control of Apple, to comply with Chapter 6.5 of Division 20 of the

12   Health and Safety Code (Health & Saf. Code §25100 et seq.) and the regulations promulgated

13   under this chapter (Cal. Code Reg., tit. 22, § 66000 et seq.) in connection with the handling,

14   storage, treatment and transportation of hazardous waste.

15             4.   Any additional relief that the Court deems appropriate.

16
     Dated: December --Z.. , 2016                            Respectfully Submitted,
17

18                                                           KAMALA D. HARRIS
                                                             Attorney General of California
19                                                           MARGARITA PADILLA
                                                             Supervising Deputy Attorney General
20

21
                                                             original signed by Reed Sato
22
                                                             REED SATO
23
                                                             Deputy Attorney General
24                                                           Attorneys for People of the State of
                                                             California, ex. rel. Department of Toxic
25                                                           Substances Control
     OK2014513105
26

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                                                        16
                                              COMPLAINT FOR CIVIL PENALTIES AND INJUNCTIVE RELIEF
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 24 of 88


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                     MOTION FOR JUDICIAL NOTICE
 9
                              EXHIBIT
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12                                   SECTION:
13
                               California DTSC v Apple
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                                           2016
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17                                         Order
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     PLAINTIFF’S MOTION FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC   DECEMBER 25 2023
                             Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 25 of 88



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                       3    Supervising Deputy Attorney General
                            REED SATO                                                                    ENDORSE~ ·
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                            rel. Barbara A. Lee, Director of the Department of
                       10
                            Toxic Substances Control
                       11
_,FP..
~"@

     ....              12                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
            .-:~;,!f
                       13                                    COUNTY OF SANTA CLARA
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                            PEOPLE OF THE STATE OF
                            CALIFORNIA, ex rel. BARBARA A. LEE,
                            DIRECTOR OF THE DEPARTMENT OF
                            TOXIC SUBSTANCES CONTROL,
                                                                                Case No.

                                                                                [PittiP6SIID] FINAL JUDGMENT
                                                                                PURSUANT TO STIPULATION

                       18                                          Plaintiff,

                       19                  v.

                       20
                            APPLE INC., a California corporation,
                       21
                                                                 Defendant.
                       22

                       23
                                    Good cause appearing herein, the Court finds that the Stipulation for Settlement and Entry
                       24
                             of Judgment and Pern1anent Injunction ("Stipulation") between the Plaintiff, the People of the
                       25
                             State of California, ex rel. Barbara A. Lee, Director of the Department of Toxic Substances
                       26
                             Control, and Defendant Apple Inc., which is attached as Exhibit A, is fair and in the public
                       27

                       28
                                                                                FINAL JUDGMENT PURSUANT TO STIPULATION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 26 of 88



 1   interest. The Stipulation is approved, and its terms are incorporated into this judgment by

 2   reference. Accordingly, final judgment is entered.

 3
     IT IS SO ORDERED:
 4

 5                  DEC O8 2016                                 James L. Stoelker
     Date:
 6
                                                     Judge of the Santa Clara County Superior Court
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                                                          FINAL JUDGMENT PURSUANT TO STIPULATION
 Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 27 of 88




                        Exhibit A
[Proposed] Final Judgment Purusant to
             Stiuplation
              People v. Apple Inc.
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 28 of 88




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 9   Attorneys for People of the State of California, ex
     rel. Barbara A. Lee, Director of the Department of
10
     Toxic Si1bstances Control
11

12                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                                      COUNTY OF SANTA CLARA

14

15   PEOPLE OF THE STATE OF                               Case No.
     CALIFORNIA, ex rel. BARBARA A. LEE,
16
     DIRECTOR OF THE DEPARTMENT OF                        STIPULATION FOR SETTLEMENT
17   TOXIC SUBSTANCES CONTROL,                            AND ENTRY OF JUDGMENT AND
                                                          PERMANENT INJUNCTION
18                                           Plaintiff,

19                  v.

20
     APPLE INC., a California corporation,
21
                                          Defendant.
22
23
            Plaintiff, the People of the State of California, ex rel. Barbara A . Lee, Director of the
24
     Depaiiment of Toxic Substances Control , ("Depa1iment") and Defendant Apple Inc. ("Apple")
25
     enter into this Stipulation for Settlement and Entry of Judgment ("Stipu lati on"), and agree as
26
     follows:
27

28


            STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 29 of 88




 1         1.        COMPLAINT

2           Concurrently with this Stipulation, the Department filed a Complaint for Civil Penalties

3    and Injunctive Relief ("Complaint") against Apple for violations of the California Hazardous

4    Waste Control Law, Health and Safety Code sections 25100 et seq . ("HWCL" ), and

5    implementing regulations, Cal. Code Regs, tit. 22, Division 4.5 , sections 66000 et seq. (" Title

 6   22"), in connection with processing electronic waste for disposal and recycling at facilities owned

 7   and operated by Apple in Santa Clara County.

 8          2.       JURISDICTION AND VENUE

 9          The Department and Apple (together, the "Paities" and individually, " Pa1iy" ) agree that

10   for purposes of this Stipulation, the Comi has both subject matter over the allegations in the

11   Complaint and personal jurisdiction over the paiiies to the Complaint. The Paities also agree that

12   venue is proper in this Comt under Health and Safety Code section 25183.

13              3.   STIPULATION AND SETTLEMENT FOR ENTRY OF FINAL JUDGMENT

14               The Depa1iment and Apple enter into the Stipulation pursuant to a compromise and

15   settlement of disputed claims. Each of the Parties consents to the entry by the Superior Comt of

16   Santa Clara County (the "Comt") of a Final Judgment Pursuant to Stipulation which incorporates

17   the terms of the Stipulation by reference. The Stipulation was negotiated and executed in good

18   faith and at arms ' length by each of the Paities, with their respective counsel, to avoid expensive

19   and protracted litigation regarding violations of the HWCL and Title 22 alleged by the

20   Depaitment in the Complaint. The Depa1tment enters into this Stipulation to J u1ther the public

21   interest. Nothing herein shall inure to the benefit of any persons not Pa1ties to this Stipulation.

22              4.   WAIVER OF HEARING AND TRIAL

23              By signing and entering into this Stipulation, Apple waives its right to a hearing and trial

24   on matters alleged in the Complaint and to appeal. Fu 1th er, the Pa1ties each request entry of the

25   Final Judgment on the terms set fo1th in this Stipulation.

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                STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
       Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 30 of 88




              5.     APPLICABILITY

2             Unless othe1wise expressly provided herein, the terms of this Stipulation and the Final

3      Judgment shall apply to and be binding on (a) Apple its successors, and its officers, directors, and

4      employees, and all persons acting within the control of Apple including, but not limited to Sims

5      Recycling Solutions, Inc., at any facility in California owned or operated by Apple at which

6      electronic waste or any other hazardous waste is treated, or recycled ("Apple Facility") and (b)

7      the Department and any successor agency of the Department that may have responsibility for, and

 8     jurisdiction over, the subject matter of the Complaint and Final Judgment.

 9            6.     MATTERS COVERED

10            This Stipulation is a final and binding resolution ai1d settlement of all violations that the

11     Department alleged in its inspection rep01ts stemming from the inspections of Apple Facilities

12     conducted on June 13, 2013 and subsequent information requests, and the violations and causes

13     of action that were specifically alleged in the Complaint against Apple. ("Matters Covered").

14            7.     INJUNCTION

15            Apple shall be enjoined and ordered as follows:

16           a.      Apple shall ensure that its officers, directors, and employees, representatives, and all

17     persons acting within the control of Apple at any Apple Facility comply with all of the laws and

18     regulations specifically identified in the violations alleged in Paragraph 31 of the Complaint.

19           b.      Any officer or employee of Apple assuming responsibility for, or oversight of,

20     hazardous waste management at Apple, including Apple' s Facility manager, primary and

21     secondary emergency coordinators, and the technicians responsible for baghouse maintenance

22 ·   and operations, must attend and successfully complete Modules 1-V relating to hazardous waste at

23     California Compliance School within six months of their hire, promotion, or assumption of

24     responsibility unless they have attended the California Compliance School and passed the

25     relevant modules within the last five years before the date of their hiring, promotion, or

26     assumption of responsibility.

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                  STIPULATJON FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 31 of 88




           c.        Apple shall ensure that e-waste labeled as Universal Waste, including shredded e-

 2   waste, is not mixed or otherwise placed in containers with dust derived from its shredding

 3   operations.

 4         d.        Apple shall conduct weekly inspections of all areas of its facilities where hazardous

 5   waste is generated or accumulated, including an inspection of all municipal waste containers and

 6   e-waste containers to inspect for improper management of hazardous waste. Apple shall maintain

 7   a written log on-site of the inspections required by Cal. Code of Regs, tit. 22, section 66265. 15.

 8   The log shall be furnished upon request, and shall be made available at all reasonable times for

 9   inspection, to any officer, employee or representative of DTSC or the local Ce1tified Unified

10   Program Agency ("CUPA").

1]         e.        Apple must submit to the Depmtment documentation demonstrating financial

12   assurance for the Closure/Post Closure Plan in accordance with title 22, section 66265 .143. The

13   document submittals shal1 be submitted annually to DTSC by no later March 16 of each year.
14         f.        Within 30 days of the Effective Date of the Judgment, the Senior Director of Real

15   Estate and Development shall be responsible for ensuring that all required financial assurance

16   documentation is submitted to the Depa1tment.

17              8.   PENALTY

18              Apple shall pay the Depmtment a civil penalty of $450,000 (four hundred-fifty thousand

19   dollars) on or before fifteen days after the Effective Date (as defined in Paragraph 21, below) of
20   the Judgment.

21              Apple shall pay the penalty by cashier' s check made payable to "California Department of
22   Toxic Substances Control" and bearing the notation "Apple Inc.," and shall send it to:
23              Cashier
                Accounting Office, MS-21 A
24              Depa1tment of Toxic Substances Control
                P.O. Box 806
25              Sacramento, CA 95812-0806
26              An electronic copy or paper photocopy of the cashier' s check for payment of the penalty
27   shal1 be sent, at th e same time, to Depmtment and Office of Attorney General personnel specified
28   in Section IO ("Notices"), below.
                                                         4

                STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 32 of 88




            9.   ENFORCEMENT

2           If the Depa1iment determines that Apple has violated the terms of this Stipulation or the

3    Final Judgment, the Depaiiment will provide Apple with written notice of the default to its

4    representatives identified in Section 11 ("Notices" ) below. If Apple fails to come into

 5   compliance within 30 calendar days of receiving the Depa1iment' s notice, or another time frame

 6   specified by the Depaiiment (whichever is later), the Depaiiment may pursue all its rights and

 7   remedies to enforce the Final Judgment. Nothing in this section shall limit the Depaiiment' s right

 8   to enforce the HWCL or Title 22 concerning violations not alleged in Paragraph 31 of the

 9   Complaint. The Depa1iment reserves its right to asse1i a claim, separate and independent of, and

IO   in addition to , any claim made to enforce this Final Judgment, for violations of the underlying

11   statutory or regulatory requirements. In the event that the Depa1iment files any motion pursuant to

12   this paragraph or brings an independent enforcement action, Defendants reserve and retain all

13   rights and defenses to oppose the Depa1iment' s motion or independent enforcement action.

14          At any time after the Final Judgment has been in effect for four (4) years, and Apple has

15   paid all amounts due hereunder, Apple may, with notice to the Depaiiment, file a motion

16   requesting that the Cerni order that the Permanent Injunction provisions of Paragraph 7 shall have

17   no prospective force or effect based on Apple ' s demonstrated history of compliance with the

18   Final Judgment. Within thi1iy (30) days of the filing of Apple ' s motion, the Depa1iment may file

19   a response in opposition. If the Department agrees that Apple has complied with the obligations

20   set fo1ih in the Final Judgment, the Depa1iment may file a statement of non-opposition to

21   Apple ' s motion or file no response . Within fifteen (] 5) days of any filing by the Depa1iment,

22   Apple may file a response to the opposition, and the matter shall be set for hearing as soon as

23   reasonably possible thereafter. The Parties agree that the Court may grant Apple ' s request upon

24   determining that Apple has complied with the obligations set fo1th herein.

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             STIPULATJON FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT lNJUNCTJON
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 33 of 88




           10. NOTICES

 2         All notices under this Stipulation and the Judgment shall be in writing and shall be sent to:
 3         For the Attorney General:

 4
          Reed Sato
 5        Deputy Attorney General
          1300 I Street, Suite 125
 6        P.O. Box 944255
          Sacramento, CA 94244-2550
 7        Reed. sato(q)do i.ca.gov
 8        For the Depaiiment:

 9        Alex Baillie
          Depa1iment of Toxic Substances Control
10        8800 Cal Center Drive
          Sacramento, CA 95826
11        A lex .Ba ill ie(a1.dtsc.ca. gov
12        Christopher Cho
          Office of Legal Counsel , MS-23A
13        Depatiment of Toxic Substances Control
          P.O. Box 806
14        Sacramento, CA 95812-0806
          Christoph er.Cho(ii).dtsc.ca.gov
15

16        For Apple:
17         James C. Fowler
           Associate General Counsel, Real Estate
18         Apple Inc.
           1 Infinite Loop, M/S 4-DLA W
19         Cupe1iino, California 95014
           jfow ler((Dapple.com
20
           Kristina E. Raspe
21         Senior Director, Real Estate
           Apple Inc.
22         1 Infinite Loop, M/S 119-REF
           Cupe1iino, California 95014
23         kras pe(a;apple.co m
24        With a copy to:
25        William F. Tarantino
          Morrison & Foerster LLP
26        425 Market Street, Suite 3300
          San Francisco, California 94105
27        WTarantin 0@111 o fo .co m
28
                                                    6

          STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUN CTION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 34 of 88




           Each Patty may change its respective representative(s) for purposes of notice by providing

2    the name and address of the new representative, in writing, to both Parties. Any such change will

3    take effect within seven calendar days of the date of the written notice.

4           11. AUTHORITY TO ENTER STIPULATION

 5          Each signatory to this Stipulation ce11ifies that he or she is fully authorized by the Party he

 6   or she represents to enter into this Stipulation, to execute it on behalf of the Patty represented, and

 7   to legally bind that Pmty.

 8          12. EFFECT OF STIPULATION AND JUDGMENT

 9          Except as expressly provided in this Stipulation, nothing in this Stipulation or the

lO   Judgment is intended nor shall it be construed to preclude the Depm1ment, or any state, county, or

11   local agency, depat1ment, board or entity from exercising its authority under any law, statute, or

12   regulation.

13           13. NOW AIYER OF RIGHT TO ENFORCE

14           Should the Depa11ment decline to enforce any provision of the Stipulation or the

15   Judgment, that shall neither be deemed a waiver of such provision, nor in any way affect the

16   validity of the Stipulation or Judgment or the Depa11ment's enforcement authority, nor shall it

17   preclude the Depm1ment from later enforcing the same or other provisions. No oral advice,

18   guidance, suggestions, or comments by employees or officials of the Depm1ment, or

19   conversations between employees or officials of the Department and employees or representatives

20   of Apple, or people or entities acting on behalf of Apple, shall be construed to relieve Apple of its

21   obligations under this Stipulation or the Judgment.

22           14. NO LIABILITY OF THE DEPARTMENT

23           The Depm1ment shall not be liable for any injury or damage to persons or property

24   resulting from acts or omissions by Apple or its agents, servants, employees, representatives, or

25   other persons acting in conce11 or pat1icipating with Apple, in carrying out Apple ' s obligations

26   pursuant to this Stipulation or the Judgment.

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             STJPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 35 of 88




               15. FUTURE REGULATORY CHANGES

 2             Nothing in this Stipulation or the Judgment shall excuse Apple from meeting more

 3   stringent requirements that may be imposed by changes in the applicable law. It is the

 4   responsibility of Apple to remain informed as to any and all applicable statutory and/or regulatory

 5   changes, and to remain in compliance with all applicable statutory and regulatory provisions.

 6             16. INTEGRATION

 7             This Stipulation and the Judgment constitute the entii-e agreement between the Pa1iies, and

 8   may not be amended or supplemented except as provided for in this Stipulation or in the

 9   Judgment. No oral representations have been made or relied on other than as expressly set fo1ih

10   herein.

11             17. RETENTION OF JURISDICTION

12             The Pa1iies agree that the CoUJi has continuing jurisdiction to interpret and enforce the

13   provisions of this Stipulation and the Judgment.

14             18. EQUAL AUTHORSHIP

15             This Stipulation shall be deemed to have been drafted equally by the Paiiies hereto . The

16   Paiiies agree that the rule of construction holding that ambiguity is construed against the drafting

17   paiiy shall not apply to the interpretation of this Stipulation.

18             19. AMENDMENTS TO THIS STIPULATION AND THE JUDGMENT

19             This Stipulation and the Judgment may be amended only pursuant to a written agreement

20   signed by all the Paities, followed by written approval by the CoUJi, or by order of the Cowi

21   following the filing of a duly noticed motion .

22             20. COUNTERPARTS

23             This Stipulation may be executed in several counterpa1i originals, all of which taken

24   together shall constitute an integrated original document.

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               STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT JNJUNCTJON
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 36 of 88




               21. ENTRY OF JUDGMENT AND EFFECTIVE DATE OF JUDGMENT

 2             The Par1ies fu11her stipulate that upon approval of this Stipulation by the Court, the Cou11

 3    may enter the Final Judgment in this matter. The "'Effective Date" of the Judgment is the date

 4    the Judgment is entered by the Court. If the Cou11 does not approve th is Stipulation and the Final

 5    Judgment in the form and substance proposed in Exhibit A hereto, each Party reserves the right to

 6    withdraw both the Stipulation and the Judgment upon written notice to all Parties and the Cou11.

 7
               IT IS SO STIPULATED.
 8
      Dated:   _l_r__,_/__·ct5~---<----' 2016                FOR THE DEPARTMENT OF TOXIC
 9                 I        .                                SUBSTANCES CONTROL

10

11                                                           original signed by Keith Kihara
12                                                           KBLilv!ZI   R
                                                             Division Chief
13                                                           Enforcement and Emergency Response
                                                             Division
14                                                           Department of Toxic Substances Control
15

16
      Dated: - - - - - - - , 2016                            FOR APPLE, INC.
17

18

19
                                                             JAMES C. FOWLER
20                                                           Associate General Counsel
                                                             Apple Inc.
21

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               STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 37 of 88




 1            21. ENTRY OF JUDGMENT AND EFFECTIVE DATE OF JUDGMENT
 2            The Parties further stipulate that upon approval of this Stipulation by the Court, the Court

 3     may enter the Final Judgment in this matter. The '"Effective Date" of the Judgment is the date

 4     the Judgment is· entered by the Court. If the Court does not approve this Stipulation and the Final

 5     Judgment in the form and substance proposed in Exhibit A hereto, each Party reserves the right to

 6     withdraw both the Stipulation and the Judgment upon written notice to all Parties and the Court.

 7
              IT IS SO STIPULATED.
 8
       Dated: - - - - - - -, 2016                           FOR THE DEPARTMENT OF TOXJC
 9                                                          SUBSTANCES CONTROL

10

11

12                                                          KEITH KlHARA
                                                            Division Chief
13                                                          Enforcement and Emergency Response
                                                            Division
14                                                          Department of Toxic Substances Control
15

16
       Dated: __t_r--1(_,_,_7__ , 2016                      FOR APPLE INC.
17

18
                                                            original signed by James Fowler
19

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              STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 38 of 88




 1            APPROVED AS TO FORM:

 2
       Dated:~au~                 \ , 2016         KAMALA D. HARRIS
 3                                                 Attorney General of California
                                                   SALLY MAGNANI
 4                                                 Senior Assistant Attorney General

 5

 6                                                 original signed by eed ato
 7                                                 REED SATO

 8                                                 Deputy Attorney General
                                                   Attorneys for PlaintiffPeople of the State of
 9                                                 California, ex rel. Department a/Toxic
                                                   Substances Control
10

11     Dated: tv./cz.Hf?,fu'u \   i'   2016

12

13                                                 original signed by   ott     rray

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16                                                 For Defendant Apple Inc.

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              STIPULATION FOR SETTLEMENT AND ENTRY OF JUDGMENT AND PERMANENT INJUNCTION
  Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 39 of 88




                         Exhibit A
To Stipulation for Settlement and Entry
of Judgment and Permanent Injunction
         Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 40 of 88


    1.
         KAMALA D. HARR.Is
         Attorney General of California
    2    MARGARITA PADILLA
    3    Supervising Deputy Attorney General
         REED SATO
    4    Deputy Attorney General
         State Bar No. 87635
    5     1300 I Street, Suite 125
          P.O. Box 944255
    6
          Sacramento, CA 94244-2550
    7     Telephone: (916) 445-5442
          Fax: (916) 322-5609
    8     E-mail: Reed.Sato@doj.ca.gov

    9    Attonieys for People of the State of California, ex
         rel. Barbara A. Lee, Director of the Departm.ent of
10
         Toxic Substances Control
11

12                           SUPERIOR COURT OF THE STATE OF CALIF0Rl'{[A

13                                        COUNTY OF SANTA CLARA

14

15       PEOPLE OF THE STATE OF                             Case No.
         CALIFORNIA, ex rel. BARBARA A. LEE,
16
         DIRECTOR OF THE DEPARTMENT OF                      FINAL JUDG1\1ENT PURSUANT TO
17       TOXIC SUBSTANCES CONTROL,                          STIPULATION

18                                             Plaintiff,

19                      v.

20
         APPLE INC., a California corporation,
21
                                             Defendant.
22
23
                Good cause appearing herein, the Court finds that the Stipulation for Settlement and Entry
24

r        of Judgment and Pern1anent Injunction ("Stipulation") between the Plaintiff, the People of the
_.'.)

         State of California, ex rel. Barbara A. Lee, Director of the Department of Toxic Substances
26
         Control, and Defendant Apple Inc., which is attached as Exhibit A, is fair and in the public
27

28
                                                            FINAL JUDGMENT PURSUANT TO STIPULATION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 41 of 88
                      ,·

 1   interest. The Stipulation is approved, and its terms are incorporated into this judgment by

 2   reference. Accordingly, final judgment is entered.

 3
     IT IS SO ORDERED:
 4

 5
     Date:
 6           ----------
                                                     Judge of the Santa Clara County Superior Court
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                                                         FINAL JUDGMENT PURSUANT TO STIPULATION
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 42 of 88


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                     MOTION FOR JUDICIAL NOTICE
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                              EXHIBIT
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12                                   SECTION:
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14                            California DTSC v Apple
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16                                        2016
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                                     News Article
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                      with Quote from Lisa Jackson’s Team
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     PLAINTIFF’S MOTION FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC   DECEMBER 25 2023
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 43 of 88
California EPA says settled with Apple on hazardous waste claims | Reuters                                                          7/16/21, 4:04 PM



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                          ENVIRONMENT            DECEMBER 6, 2016 /
                                                 11:10 AM / UPDATED 5
                                                 YEARS AGO




                          California EPA
                          says settled
                          with Apple on
                          hazardous
                          waste claims
                          By
                          Stephen           2 MIN READ
                          Nellis




                                                                                   ADVERTISEMENT
https://www.reuters.com/article/us-apple-waste-violations-idUSKBN13V2HS                                                                 Page 1 of 11
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 44 of 88
California EPA says settled with Apple on hazardous waste claims | Reuters                   7/16/21, 4:04 PM


                                                                             ADVERTISEMENT
        An Apple logo hangs above the entrance to the Apple store
        on 5th Avenue in the Manhattan borough of New York
        City, U.S., December 5, 2016. REUTERS/Brendan
        McDermid



                          (Reuters) - The California
                          Environmental Protection
                          Agency on Tuesday said
                          Apple Inc agreed to pay
                          $450,000 to settle state
                          claims that it had mishandled
                          hazardous electronic waste at
                          facilities in Silicon Valley.


                          Apple also agreed to increase
                          inspections to settle
                          allegations about facilities in
                          Cupertino and Sunnyvale, the
                          Agency’s Department of
                          Toxic Substances Control
                          said.


                          “This matter involves an
                          oversight in filing paperwork
                          to close one of our recycling
                          facilities as part of our
                          expansion to a larger site,”
                          Apple spokeswoman Alisha

https://www.reuters.com/article/us-apple-waste-violations-idUSKBN13V2HS                          Page 2 of 11
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 45 of 88
California EPA says settled with Apple on hazardous waste claims | Reuters                                         7/16/21, 4:04 PM




                          Johnson told Reuters in an
                          emailed statement.


                          “We’ve worked closely with
                          [the Department of Toxic
                          Substance Control] to ensure
                          that going forward we have
                          the proper permits for our
                          current site. As we do with all
                          our facilities, we followed our
                          stringent set of health and
                          safety standards, which go
                          well beyond legal
                                                                             TRENDING STORIES
                          requirements.”
                                                                             Floodwaters still rising in western
                          State regulators alleged Apple                     Europe with death toll over 120

                          opened and operated an
                          electronic waste shredding                         Reuters journalist killed covering
                                                                             clash between Afghan forces,
                          facility in Cupertino, its                         Taliban

                          home base, between 2011
                                                                             Some 114,000 western German
                          and 2012 without informing                         households without power after
                          them.                                              floods


                                                                             Cash-flush Americans lift U.S.
                          The department also alleged                        retail sales; shortages depress
                                                                             auto purchases
                          Apple mishandled metal dust
                          from shredder operations at
                                                                             AMC shares attempt a comeback,
                          the Cupertino facility, which                      GameStop falls


https://www.reuters.com/article/us-apple-waste-violations-idUSKBN13V2HS                                                Page 3 of 11
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 46 of 88
California EPA says settled with Apple on hazardous waste claims | Reuters                  7/16/21, 4:04 PM




                          processed about 1.1 million
                          pounds (500,000 kg) of
                          waste before it was closed in
                          January 2013.


                          Regulators also said that
                          Apple subsequently opened
                          another shredding facility in
                          nearby Sunnyvale and
                          processed 800,000 pounds of
                          waste before notifying the
                          regulators of the plant’s
                          existence. At the Sunnyvale
                          plant, regulators alleged,
                          Apple took hazardous dust
                          swept from the floor and sent
                          it to a disposal site that was
                          not authorized to handle
                          toxic waste.


                          The regulators also claim
                          Apple did not properly report
                          and track exports of
                          hazardous waste and failed to
                          mark used oil containers
                          properly as hazardous waste.


https://www.reuters.com/article/us-apple-waste-violations-idUSKBN13V2HS                         Page 4 of 11
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 47 of 88
California EPA says settled with Apple on hazardous waste claims | Reuters                  7/16/21, 4:04 PM



                          Reporting by Stephen Nellis; Editing
                          by Dan Grebler and Alan Crosby


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                          Trust Principles.

                          MORE FROM REUTERS




https://www.reuters.com/article/us-apple-waste-violations-idUSKBN13V2HS                         Page 5 of 11
     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 48 of 88


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                     MOTION FOR JUDICIAL NOTICE
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                              EXHIBIT
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12                                   SECTION:
13                                North Carolina
14                              Dept. of Env. Quality
15                               Haz. Waste Section
16                                     v Apple
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18
                                 Maiden Data Center
19
                                          2017
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21                                   Order & Fine
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     PLAINTIFF’S MOTION FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC   DECEMBER 25 2023
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 49 of 88
LASERFICHE FILE TRANSMITTAL FORM
DIVISION OF WASTE MANAGEMENT
HAZARDOUS WASTE SECTION


Your Name:                     Heather Goldman


Document Category:             Facility


Document Group:                Inspection/Investigation (I)


Document Type:                 Compliance Evaluation Inspection (CEI)


EPA ID:                        NCR000149526


Facility Name/Subject:         Apple, Inc.


Document Date:                 02/09/2017


Description:                   CESQG inspection. Compliance Order Docket #2017-047 issued in
                               conjunction with this report.




Author:                        Heather Goldman


Branch/Unit:                   Compliance Branch-Western Region


Facility/Site Address:         5977 Startown Road


Facility/Site City:            Maiden


Facility/Site State:           North Carolina


Facility/Site Zipcode:         28650


Facility/Site County:          Catawba


File Room Use Only


                              Month              Day          Year        Scanner's Initial:

Date Received by File Room:


             Date Scanned:
            Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 50 of 88
                                     RCRAINFO DATA ENTRY FORM
                             HAZARDOUS WASTE SECTION ‐ COMPLIANCE BRANCH


For Violations:
Enforcement Date: 10/2/2017                     Docket Number: 2017‐047
Enforcement Type: CO                                    How many violations were there? 8
For IANOV or CO: The facility is a SNC (SNY Evaluation)


Violation #1:
Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.     Actual Return to Compliance: Click here to enter a date.

Regulation Description: 40 CFR 262.11
Comment: The facility failed to conduct a proper waste determination .
For CSE, Corrections to Violations were:


Violation #2:
Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.     Actual Return to Compliance: Click here to enter a date.

Regulation Description: 40 CFR 262.41(a)
Comment: The facility failed to prepare and submit a single copy of a Biennial Report to the NCDEQ Hazardous
Waste Section by March 1 of 2016 covering generator activities during the previous year.
For CSE, Corrections to Violations were:


Violation #3:

Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.     Actual Return to Compliance: Click here to enter a date.

Regulation Description: 40 CFR 262.20(a)(1)
Comment: The facility offered for transport a hazardous waste for offsite treatment, storage, or disposal and
failed to prepare a Manifest (OMB Control number 2050‐0039) on EPA Form 8700‐22.
For CSE, Corrections to Violations were:




                                                        1                              Form Amended 07/27/2017
            Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 51 of 88
Violation #4:

Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.      Actual Return to Compliance: Click here to enter a date.

Regulation Description: 40 CFR 262.12(c)
Comment: The facility failed to offer D018 hazardous waste to a transporter and/or treatment, storage, or
disposal facility that had received an EPA identification number.
For CSE, Corrections to Violations were:




Violation #5:

Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.      Actual Return to Compliance: Click here to enter a date.

Regulation Description: 40 CFR 268.7(a)(8)
Comment: The facility failed to submit a one‐time written notice to each treatment or storage facility receiving
the waste and place a copy in the file.
For CSE, Corrections to Violations were:




Violation #6:

Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.      Actual Return to Compliance: Click here to enter a date.

Regulation Description: N.C.G.S. 130A‐294.1(e)
Comment: The facility failed to pay an annual fee of one thousand four hundred dollars ($1,400) for Fiscal Year
2013‐2014 and Fiscal Year 2014‐2015.
For CSE, Corrections to Violations were:




Violation #7:

Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.      Actual Return to Compliance: Click here to enter a date.

Regulation Description: N.C.G.S. 130A‐294.1(e)
Comment: The facility failed to pay an annual fee of one seventy‐five dollars ($175) for Fiscal Year 2015‐2016.
For CSE, Corrections to Violations were:

                                                         2                              Form Amended 07/27/2017
            Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 52 of 88



Violation #7:

Date Determined:        2/9/2017

Scheduled Return to Compliance: Click here to enter a date.      Actual Return to Compliance: Click here to enter a date.

Regulation Description: N.C.G.S. 130A‐294.1(g)
Comment: The facility failed to pay a tonnage fee of seventy cents ($0.70) per ton or any part thereof of
hazardous waste generated during that year up to a maximum of 25,000 tons.
For CSE, Corrections to Violations were:




                                                         3                              Form Amended 07/27/2017
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                               STATE OF NORTH CAROLINA
                        DEPARTMENT OF ENVIRONMENTAL QUALITY
                            DIVISION OF WASTE MANAGEMENT
                               HAZARDOUS WASTE SECTION

                        LARGE QUANTITY GENERATOR (LQG)
                  COMPLIANCE EVALUATION INSPECTION (CEI) REPORT

1. FACILITY INFORMATION:
     Name:                          Apple, Inc.
     EPA ID Number:                 NCR000149526
     Type of Facility:              Large Quantity Generator (LQG)
     Facility Location and Address:         5977 Startown Road, Maiden, NC 28650
     Telephone Number:              828-315-0668
     County:                        Catawba

2. AUTHOR OF REPORT:                  Heather Goldman, Environmental Senior Specialist, NCDEQ
                               980-224-9858 heather.goldman@ncdenr.gov
                               PO Box 38085, Charlotte, NC 28278
               Date of Report: October 5, 2017

3. FACILITY CONTACT: Thomas Jacobik – Operations Manager
                    Office: 828-315-0668; jacobik@apple.com

4. SURVEY PARTICIPANTS: Mike Francesca – Chief Engineer; Jason Laurendine – Facilities
   Technician

5. SURVEY INSPECTORS: Brent Burch – Compliance Branch Head NCDEQ; Sean Morris – Western
   Unit Compliance Supervisor NCDEQ; Heather Goldman - ESS NCDEQ

6. DATE OF INSPECTION: February 9, 2017; 10:00 a.m. – 1:00 p.m.

7. PURPOSE OF EVALUATION: A Compliance Evaluation Inspection (CEI) to determine compliance
   with hazardous waste management regulations (also known as the Resource Conservation & Recovery
   Act, or RCRA) which are described at Chapter 40 of the Code of Federal Regulations (40 CFR), Parts
   260 – 270, 273, and 279; and Title 15 Chapter 13A Hazardous Waste Management Rules (Rules) of the
   North Carolina Administrative Code (NCAC).

8. DESCRIPTION OF FACILITY: Apple, Inc. (facility) operates primarily as a data center. The facility
   includes server rooms, offices, maintenance, and various energy generation areas. Hard drives are
   shredded onsite and sent off site for reclamation. Lead acid batteries are maintained onsite. A total of
   504,574 square feet is located under roof.
       A request for an EPA ID number and notification as a Small Quantity Generator (SQG) was first
   received on July 29, 2010 for Project Dolphin Data Center. A subsequent notification as a Conditionally
   Exempt Small Quantity Generator (CESQG) and ownership name change was received on October 4,
   2010 for Apple Waste codes on the notification form included D001, D002, D008, F001, F002, F003,
                                                                                                         1
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   and F005. The following information was provided regarding the waste code generation: D001 – fuels;
   D002 – water treatment chemicals; D008 – lead acid batteries; F001 – bleach/solvents from maintenance
   activities; F002 – none provided; F003 – ethylene torches from construction, no longer generated; and
   F005 – toluene and MEK from construction, no longer generated.
       The facility was notified as a CESQG and appeared to be operating as a CESQG at the time of
   inspection. Bloom Energy Corporation, based out of 1299 Orleans Drive, Sunnyvale, CA, 94089,
   provides monitoring and maintenance of the Bloom Fuel Cells and manages the removal, handling, and
   transport of the spent catalyst material generated onsite from the Cells. Based on information provided
   by the facility, it appears the facility was operating as a Large Quantity Generator (LQG) during the
   months of March 2014, April 2014, June 2014, July 2014, October 2014, November 2014, December
   2014, May 2015, and June 2015, and a Small Quantity Generator (SQG) during the month of June 2016.

   General Information:
   a) Legal owner of facility: Apple, Inc.
   b) Legal owner of property: Apple, Inc.
   c) Number of Employees/Shifts: Confidential/ Operates 24/7
   d) Water supply (municipal or well): City of Hickory
   e) Municipal sewer/septic/on-site treatment facility: Town of Maiden
   f) Number of on-site wells: Four wells for backup water
   g) Distance to closest off-site well: Unknown
   h) Closest private residence: Approximately 0.27 miles from main building
   i) Site Acreage: The main buildings and fuel cells are located on approximately 127.30-acre parcel
      (5977 Startown Road, Maiden, NC 28650); the solar cells are located on approximately 140.13-acre
      parcel (6028 Startown Road, Maiden, NC 28650); and the fuel cells are accessed through 2201
      Elbow Road, Maiden, NC 28658.

9. AREAS OF REVIEW AND INSPECTION:
   a) Manifests / Land Disposal Restriction (LDR) Notifications – At the time of inspection, no hazardous
      waste manifest or LDRs were provided, for the last three years, for review. However, the facility did
      offer for transport D018 hazardous waste that was generated from Bloom Energy fuel cell canisters,
      which contained spent catalyst. A description of the fuel cells and how the waste is generated is
      described in the Fuel Cells section of this report. Below is a summary of the D018 hazardous waste
      material that was offered for transport between February 9, 2014 and February 9, 2017. This
      information is summarized in Table 1 and is based on e-mails, written responses, transportation
      documents, and hazardous waste manifests that were provided by Apple Inc. after the initial
      inspection.
       Violation Noted: Apple, Inc. offered D018 hazardous waste to a transporter that had not
       received an EPA Identification Number.

           Based on transportation documents and information provided by facility personnel, Apple
       generated 43,780 pounds of D018 hazardous waste spent catalyst between March 12, 2014 and
       December 5, 2014 and generated approximately 14,641 pounds of D018 hazardous waste spent
       catalyst between May 2015 and June 2016 (See Table 1). Apple offered the hazardous waste to a
       company named Expeditors International transport over a total of fourteen (14) shipments. Each of
       the fourteen shipments were made using a “Contract of Carriage” shipping document and the

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      documents indicated that eleven (11) of the shipments were transported from Apple, Inc. in Maiden,
      NC to a facility named Unicat Services, located in Alvin, TX, and three (3) of the shipments were
      transported to a company named VLS Recovery Services, LLC, located in Pasadena, TX. On April
      24, 2017, Mr. Steiger provided the addresses, as included below, of the Expeditors International
      branches, located in the State of Californian and the State of Pennsylvania, that the shipments were
      coordinated with. An internal search found that three Expeditors International facilities in the State of
      Washington and two Expeditors International facilities in the State of Texas that have been assigned
      EPA ID numbers. However, none of these locations have notified as a transporter of hazardous
      waste.
          Expeditors International, located at 425 Valley Drive, Brisbane, CA 94005, had not notified as a
      hazardous waste transporter or been issued an EPA ID number.
          Expeditors International, located at 519 Kaiser Drive, Suite A, Folcroft, PA 19032, had not
      notified as a hazardous waste transporter or been issued an EPA ID number.
          Apple, Inc. offered D018 hazardous waste to two facilities with an EPA Identification Number
      but neither facility had notified as a Treater, Storer, or Disposer of Hazardous Waste.
          Based on transportation documents, and information provided by facility personnel, Apple, Inc.
      generated 43,780 pounds of D018 hazardous waste spent catalyst between March 12, 2014 and
      December 5, 2014 (See Table 1). The waste was transported over (11) shipments from Apple, Inc. in
      Maiden, NC to Unicat Services, located in Alvin, TX. Unicat Services accepted the spent catalyst
      canisters and repackaged the spent material before manifesting and shipping the hazardous waste to
      either Veolia ES Technical Solutions – TXD000838896; Clean Harbors San Leon, Inc. –
      TXD981053770; or Rineco – ARD981057870, which are all notified as RCRA permitted treatment,
      storage & disposal facilities. The hazardous waste manifests, prepared by Unicat Services, listed the
      generator of the spent catalyst waste as either Bloom Energy @ Unicat Services – TXR000081631 or
      Bloom Energy – TXR000081631. Unicat Services – TXR000081631 was notified as a Large
      Quantity Generator at the time of the 2014 shipments. Unicat Services was not notified as a RCRA
      permitted Treatment, Storage & Disposal Facility.
          Based on transportation documents, and information provided by facility personnel, Apple, Inc.
      generated 14,641 pounds of D018 hazardous waste spent catalyst between May 2015 and June 2016
      (See Table 1). This waste was transported over three (3) shipments from Apple, Inc. in Maiden, NC
      to VLS Recovery Services, LLC (VLS Bayport), located in Pasadena, TX (See Table 1.) The spent
      material was treated at VLS Bayport by separating out copper, with the remaining hazardous waste
      materials manifested and shipped to Clean Harbors San Leon, Inc. – TXD981053770, which is
      notified as a RCRA permitted treatment, storage & disposal facility. The hazardous waste manifests,
      prepared by VLS Bayport, listed the generator of the spent catalyst waste as VLS Bayport. VLS
      Bayport – TXR000082015 was notified as a transfer facility and a Large Quantity Generator at the
      time May & June 2015 shipments. VLS Bayport was notified as a Large Quantity Generator at the
      time of the June 2016 shipment. VLS Bayport was not notified as a RCRA permitted Treatment,
      Storage & Disposal Facility.




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         Table 1: Shipments of Spent Catalyst from Apple, Inc., Maiden, NC

              Month     Number of        Catalyst   Catalyst     Date of            Receiving
                        Canisters        Weight     Weight 2 Shipment from           Facility
                         replaced     (approximate)            Apple, Inc.
                                           1


             Mar 2014      50           2500 kg         5500       3/12/2014;    Unicat Services,
                                                       pounds      3/17/2014       Alvin, TX
             Apr 2014      48           2400 kg         5280        4/4/2014     Unicat Services,
                                                       pounds                      Alvin, TX
             Jun 2014      30           1500 kg         3300       6/27/2014     Unicat Services,
                                                       pounds                      Alvin, TX
             Jul 2014      108          5400 kg        11880       7/7/2014;     Unicat Services,
                                                       pounds      7/22/2014       Alvin, TX
              Aug          12            600 kg         1320        8/8/2014     Unicat Services,
              2014                                     pounds                      Alvin, TX
             Oct 2014      32           1600 kg         3520      No Shipment Unicat Services,
                                                       pounds                   Alvin, TX
              Nov          58           2900 kg         6380       11/4/2014;    Unicat Services,
              2014                                     pounds      11/7/2014       Alvin, TX
             Dec 2014      60           3000 kg         6600      12/5/2014;     Unicat Services,
                                                       pounds     12/22/2014       Alvin, TX
              May          65           2769 kg        6091.8      5/29/2015      VLS Bayport,
              2015                                     pounds                     Pasadena, TX
             Jun 2015      84           3758 kg        8267.6      6/12/2015      VLS Bayport,
                                                       pounds                     Pasadena, TX
             Jun 2016       3            128 kg         281.6      6/30/2016      VLS Bayport,
                                                       pounds                     Pasadena, TX
         1 – 42.6 kg of spent catalyst per canister since early 2015 conversion to new catalyst. –
             Mr. Michael Steiger e-mail, March 31, 2017.
         2 – Catalyst weight in pounds was calculated by multiplying kilograms (kg) by 2.2.


         The facility could not provide a land disposal restriction notice for D018 hazardous waste that
      was shipped to Unicat Services or VLS Bayport.

      Violation Noted: The facility failed to submit a one-time written notice to each treatment or
      storage facility receiving the waste and place a copy in the file as the facility could not provide a
      land disposal restriction notice for the spent catalyst D018 hazardous waste that was shipped to
      Unicat Services – TXR000081631 or VLS Bayport – TXR000082015. Violation Noted: The
      facility offered for transport a hazardous waste for offsite treatment, storage, or disposal and
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      failed to prepare a Manifest (OMB Control number 2050-0039) on EPA Form 8700-22.

   b) Weekly Inspections of Hazardous Waste Storage Area (HWSA) – The facility does not maintain a
      HWSA or weekly inspections of a HWSA.
   c) Biennial Report – A 2015 Biennial Hazardous Waste Report was not provided.

      Violation Noted: The facility failed to prepare and submit a single copy of a Biennial Report to
      the NCDEQ Hazardous Waste Section by March 1 of 2016 covering generator activities during
      2015. The facility generated and offered for transport approximately 14,359 pounds of spent
      catalyst during the months of May 2015 and June 2015 and did not prepare and submit a copy
      of the Biennial Report to the Section.

   d) Emergency Preparedness – Thomas Jacobik is the facility’s emergency coordinator. Mike Francesco
      and Zeb Hill Jr. are the alternate emergency coordinators.
   e) Contingency Plan – The facility maintains a written Spill Prevention Counter Control (SPCC) plan
      that was dated as August 19, 2016. The facility did not provide or have a written hazardous waste
      contingency plan.
   f) Training – No hazardous waste training records were provided for review at the time of inspection.
   g) Satellite Accumulation Areas (SAAs) – No SAAs were observed at the time of inspection. Facility
      personnel explained that there were no SAAs maintained onsite.
   h) Hazardous Waste Storage Areas (HWSA) – No HWSAs were observed at the time of inspection.
      Facility personnel explained that there were no HWSAs maintained onsite.
   i) Other Waste Streams – The facility shreds hard drives onsite. It was estimated that 1-2 boxes of
      shredded hard drives are generated a month. At the time of inspection, facility personnel were
      shredding hard drives into one cubic yard box. The box was unlabeled. There were three cubic yard
      boxes of un-shredded hard drives waiting to be shredded. These boxes were covered and unlabeled.
      It is recommended that the facility clearly label all containers to communicate their contents.
      The facility claims that the hard drives are excluded under 40 CFR 261.4(a)(13) excluded scrap metal
      and 40 CFR 261.4(a)(14) shredded circuit boards being recycled. The facility claims that the hard
      drives shredded at the facility do not contain mercury switches, mercury relays, nickel-cadmium
      batteries, or lithium batteries. In response to Ms. Heather Goldman’s and Mr. Sean Morris’s concerns
      regarding potential exposure of employees to heavy metals during the hard drive shredding activities,
      the facility responded on March 3, 2017 that they are reviewing health and safety practices at the site
      to ensure compliance with all federal and North Carolina OSHA requirements.
           Aerosol containers were observed in the Maintenance 1 Area. Proper management options for
      waste aerosols were discussed. An unused parts washer and an unused sand blaster was observed in
      the Maintenance 2 Area. It is a reminder that the facility must conduct a proper waste determination,
      per 40 CFR 262.11, on all waste generated at the facility, including waste generated from the parts
      washer and sand blaster, once in operation.
   j) Used Oil – No used oil was observed stored onsite.
   k) Universal Waste – The facility has a used battery recycling program. At the time of inspection, one
      small universal waste battery container was observed.
   l) Fuel Cells – Apple owns and operates Bloom Fuel Cells that convert natural gas into electricity.
      These fuel cells are located onsite and include desulfurization units (canisters) that contain a catalyst
      that is utilized to remove sulfur from natural gas. Benzene, a constituent of natural gas, may also be
      removed from the natural gas and captured in the desulfurization catalyst. Upon removal of a spent
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      desulfurization canister from the fuel cell, the removed canister that contains spent catalyst is
      replaced with a canister and new catalyst. Bloom Energy Corporation personnel conduct the removal
      and management of the canisters and contained spent catalyst material from the fuel cells. On April
      24, 2017, Mr. Michael Steiger with Apple provided an e-mail confirmation of Apple’s ownership and
      operation of the Bloom Fuel Cells, as well as Bloom Energy’s monitoring and maintenance of the
      fuel cells and management, handling, and transport of the spent catalyst material. How Apple and co-
      generator Bloom Energy Corporation managed the spent catalyst material, after it was removed from
      the fuel cells over the past three years, was investigated as part of the inspection.
          Prior to the February 9, 2017 site visit and based on the “Apple/Bloom Fuel Cells Desulfurization
      Units Waste Management” document, that was provided during the site visit, the facility claimed the
      spent units (canisters) were Manufacturing Process Units (MPU) per the 40 CFR 261.4(c) exclusion.
          On February 13, 2017, Ms. Goldman submitted an e-mail to Apple representatives. As part of the
      e-mail was an inquiry into: how the facility is managing the spent desulfurization material; the waste
      determination for the spent material; dimensions of the spent desulfurization units; concentration of
      benzene in the spent material and any other RCRA characteristic or listed constituents related to the
      spent catalyst; amount and weight of spent material generated per month; and transportation
      records/bill of ladings for offsite shipments of spent desulfurization units for the past three years.
          On March 3, 2017, Mr. Scott Sidlow with Apple provided a letter that noted that “Bloom
      analyzed the spent catalyst in other, similar desulfurization units at other sites. Based on that
      analysis, Apple understands that this catalyst will at times have benzene above 0.5 mg/l. However,
      several canisters of spent catalyst tested below the 0.5 mg/l levels. The spent catalyst generated at the
      Maiden site has not been tested”. No supporting information was provided to demonstrate (1)
      specific analytical results, (2) where the spent catalyst that was analyzed was generated, (3) when the
      analysis occurred, (4) how many samples were taken, or (5) how many canisters were analyzed. The
      March 3, 2017 response also included two (2) hazardous waste manifests for D018 hazardous waste
      solid Benzene that was offered for transport from VLS – Bay Port (TXR000082015) on October 28,
      2016 and September 16, 2016. The March 3, 2017 response included one Contract for Carriage
      shipping document for the transport of desulfurization canister crates from the Apple facility to VLS
      Recovery Services, LLC, 10201 Bay Area Boulevard, Pasadena, TX 77507.
          The facility explained in the March 3, 2017 response that they are reviewing managing the spent
      catalyst under “40 CFR 262.2(e)(1)” through ShoreMet. 40 CFR 262.2(e)(1) does not exist in the
      regulations and appeared to be a mistake. A letter from the Indiana Department of Environmental
      Management (IDEM), dated February 24, 2017, that was included as part of the March 3, 2017
      response, noted that ShoreMet intends to claim 40 CFR 261.2(e)(1)(i), where materials are not a solid
      waste when used or reused as ingredients in an industrial process to make a product, provided the
      materials are not being reclaimed before use.
          On March 13, 2017, the Section received an additional USPS Certified Mail response from Mr.
      Sidlow which included two (2) additional Contract for Carriage shipping documents. The shipment
      details are included in Table 1.
          On March 28, 2017, Ms. Goldman emailed additional questions to Mr. Sidlow requesting
      reconciliation of information provided regarding shipments of spent fuel cell desulfurization units in
      2014. Ms. Goldman specifically asked about an e-mail dated May 11, 2015, from Mr. Nathan
      Fleischer with Apple, that included information for four 2014 shipments of spent desulfurization
      materials. Information contained in the May 11, 2015 e-mail was not included with Apple’s March 3,
      2017 response. A copy of waste characterizations for the spent desulfurization materials removed

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      from the facility from 2014 – 2017 was also requested.
           On March 31, 2017, Mr. Michael Steiger, with Apple, provided an e-mailed written response to
      Ms. Goldman. Mr. Steiger explained that in early 2015, a different catalyst was used in the
      desulfurization units that extended the time between unit canister removal and replacement. Mr.
      Steiger provided an outline of shipments of spent materials from the facility. This information
      included the months, number of canisters replaced, and approximate weight of catalyst in kilograms,
      as included in Table 1. The response also included four hazardous waste manifests for D018
      hazardous waste solid benzene that was offered for transport from VLS Bayport, Pasadena, TX on
      July 30, 2015, July 30, 2015, September 16, 2016, and October 28, 2016.
           Mr. Steiger’s March 31, 2017 response also addressed the request for a copy of waste
      characterizations for the spent desulfurization materials that were removed in 2014, 2015, 2016, and
      2017. Mr. Steiger’s response included that “Characterization was performed by Bloom based on
      generator knowledge in accordance with 40 C.F.R. 262.11.” The results of the waste determination
      were not provided. No other information or supporting documentation has been provided by Apple to
      demonstrate a waste characterization was performed on spent desulfurization materials generated
      from the Apple Maiden, NC facility. Based on the information provided it is unclear if the spent
      material exhibited hazardous constituents above hazardous waste levels. As noted in the March 3,
      2017 response from Mr. Sidlow, the spent catalyst generated at the Maiden Apple facility has not
      been tested. However, based on hazardous waste manifest obtained from the Facility, the non-
      reclaimed material was managed as hazardous waste by VLS Bayport and Unicat Services.
           On April 19, 2017, Ms. Goldman requested shipping documents for 2014, 2015, 2016, and 2017
      shipments along with transporter information. In addition, Ms. Goldman requested clarification of
      who owns, operates, and manages the Bloom Fuel Cells. The Section also requested any shipping
      documents for spent catalyst that was sent from Unicat to Clean Harbors in 2014.
           On April 24, 2017, Mr. Steiger responded via e-mail to the April 19th inquiry. The response
      included twenty-eight (28) hazardous waste manifests, eleven (11) Contract of Carriage
      transportation documents, and transporter information. Mr. Steiger clarified that Apple owns the fuel
      cells and Bloom Energy provides monitoring and maintenance of the fuel cells, as well as manages
      the removal, handling, and transport of the spent catalyst canisters. Mr. Steiger clarified that
      documentation was not kept that correlates individual catalyst material to a specific manifest. In
      addition, all the manifest provided reflect materials from all Bloom fuel cells sent to Treatment,
      Storage, or Disposal facilities (TSDFs) and not specific materials from the Apple, Maiden, NC
      facility.
           At the time of the inspection, the Section was given a document claiming the MPU Exemption
      titled “Apple/Bloom Fuel Cells Desulfurization Units Waste Management”. Apple claimed that the
      spent catalyst canisters, which are connected to the Bloom Fuel Cells fall under the Manufacturing
      Process Unit (“MPU”) Exemption found at 40 CFR 261.4(c). As explained in the October 3, 2016
      EPA letter from the Office of Resource Conservation and Recovery regarding the Applicability of
      the Manufacturing Process Unit (MPU) Exemption at 40 CFR 261.4(c) to Filter Canisters,
      “disconnected canisters are not part of the manufacturing process”. In addition, the October 3, 2016
      letter notes that “The disconnected canisters are a container of solid waste and the material contained
      inside the canister is a waste subject to RCRA regulations.” The NCDEQ Hazardous Waste Section
      applies the exclusion 40 CFR 261.4(c) in a manner consistent with EPA’s October 3, 2016 directives.
      The 40 CFR 261.4(c) exclusion does not apply to the spent catalyst canisters.


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       Violation Noted: The facility failed to conduct a proper waste determination for spent fuel cell
       filter waste material.

10. SITE DEFICIENCIES:
    A. 40 CFR 262.11 – Apple, Inc. is in violation of this regulation in that the facility failed to conduct a
       proper waste determination for spent fuel cell filter waste material. Apple claimed that the spent
       catalyst canisters, which are connected to the Bloom Fuel Cells fall under the Manufacturing Process
       Unit (“MPU”) Exemption found at 40 CFR 261.4(c). As explained in the October 3, 2016 EPA letter
       from the Office of Resource Conservation and Recovery regarding the Applicability of the
       Manufacturing Process Unit (MPU) Exemption at 40 CFR 261.4(c) to Filter Canisters, “disconnected
       canisters are not part of the manufacturing process”. In addition, the October 3, 2016 letter notes that
       “The disconnected canisters are a container of solid waste and the material contained inside the
       canister is a waste subject to RCRA regulations.” The NCDEQ Hazardous Waste Section applies the
       exclusion 40 CFR 261.4(c) in a manner consistent with EPA’s October 3, 2016 directives. The 40
       CFR 261.4(c) exclusion does not apply to the spent catalyst canisters.
    B. 40 CFR 262.41(a) – Apple, Inc. is in violation of this regulation in that the facility failed to prepare
       and submit a single copy of a Biennial Report to the NCDEQ Hazardous Waste Section by March 1
       of 2016 covering generator activities during the previous year. The facility generated and offered for
       transport approximately 14359 pounds of spent catalyst during the months of May 2015 and June
       2015 and did not prepare and submit a copy of the Biennial Report to the Section.
    C. 40 CFR 262.20(a)(1) – Apple, Inc. is in violation of this regulation in that the facility offered for
       transport a hazardous waste for offsite treatment, storage, or disposal and failed to prepare a Manifest
       (OMB Control number 2050-0039) on EPA Form 8700-22. The facility offered for transport
       approximately 43,780 pounds of D018 hazardous waste to Unicat Services in 2014, approximately
       14,359.4 pounds of D018 hazardous waste to VLS Bayport – TXR000082015 in 2015, and
       approximately 281.6 pounds to VLS Bayport – TXR000082015 in 2016. This material was
       transported using a Contract for Carriage document and not a hazardous waste manifest.
    D. 40 CFR 262.12(c) – Apple, Inc. is in violation of this regulation in that the facility failed to offer
       D018 hazardous waste to a transporter and/or treatment, storage, or disposal facility that had received
       an EPA identification number.
       Apple, Inc. offered D018 hazardous waste to a transporter that had not received an EPA
       Identification Number.
           Based on transportation documents and information provided by facility personnel, Apple, Inc.
       generated 43,780 pounds of D018 hazardous waste spent catalyst between March 12, 2014 and
       December 5, 2014 and generated approximately 14,641 pounds of D018 hazardous waste spent
       catalyst between May 2015 and June 2016 (See Table 1). Apple, Inc. offered the hazardous waste to
       a company named Expeditors International transport over a total of fourteen (14) shipments. Each of
       the fourteen shipments were made using a “Contract of Carriage” shipping document and the
       documents indicated that eleven (11) of the shipments were transported from Apple, Inc. in Maiden,
       NC to a facility named Unicat Services, located in Alvin, TX, and three (3) of the shipments were
       transported to a company named VLS Recovery Services, LLC, located in Pasadena, TX. On April
       24, 2017, Mr. Steiger provided the addresses, as included below, of the Expeditors International
       branches, located in the State of Californian and the State of Pennsylvania, that the shipments were
       coordinated with.
           Expeditors International, located at 425 Valley Drive, Brisbane, CA 94005, had not notified as a

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      hazardous waste transporter or been issued an EPA ID number.
          Expeditors International, located at 519 Kaiser Drive, Suite A, Folcroft, PA 19032, had not
      notified as a hazardous waste transporter or been issued an EPA ID number.
          Apple, Inc. offered D018 hazardous waste to two facilities with an EPA Identification Number
      but neither facility had notified as a Treater, Storer, or Disposer of Hazardous Waste.
          Based on transportation documents, and information provided by facility personnel, Apple, Inc.
      generated 43,780 pounds of D018 hazardous waste spent catalyst between March 12, 2014 and
      December 5, 2014 (See Table 1). The waste was transported over (11) shipments from Apple, Inc. in
      Maiden, NC to Unicat Services, located in Alvin, TX. Unicat Services accepted the spent catalyst
      canisters and repackaged the spent material before manifesting and shipping the hazardous waste to
      either Veolia ES Technical Solutions – TXD000838896; Clean Harbors San Leon, Inc. –
      TXD981053770; or Rineco – ARD981057870, which are all notified as RCRA permitted treatment,
      storage & disposal facilities. The hazardous waste manifests, prepared by Unicat Services, listed the
      generator of the spent catalyst waste as either Bloom Energy @ Unicat Services – TXR000081631 or
      Bloom Energy – TXR000081631. Unicat Services – TXR000081631 was notified as a Large
      Quantity Generator at the time of the 2014 shipments. Unicat Services was not notified as a RCRA
      permitted Treatment, Storage & Disposal Facility.
          Based on transportation documents, and information provided by facility personnel, Apple, Inc.
      generated 14,641 pounds of D018 hazardous waste spent catalyst between May 2015 and June 2016
      (See Table 1). This waste was transported over three (3) shipments from Apple, Inc. in Maiden, NC
      to VLS Recovery Services, LLC (VLS Bayport), located in Pasadena, TX (See Table 1.) The spent
      material was treated at VLS Bayport by separating out copper, with the remaining hazardous waste
      materials manifested and shipped to Clean Harbors San Leon, Inc. – TXD981053770, which is
      notified as a RCRA permitted treatment, storage & disposal facility. The hazardous waste manifests,
      prepared by VLS Bayport, listed the generator of the spent catalyst waste as VLS Bayport. VLS
      Bayport – TXR000082015 was notified as a transfer facility and a Large Quantity Generator at the
      time May & June 2015 shipments. VLS Bayport was notified as a Large Quantity Generator at the
      time of the June 2016 shipment. VLS Bayport was not notified as a RCRA permitted Treatment,
      Storage & Disposal Facility.
   E. 40 CFR 268.7(a)(2) – Apple, Inc. is in violation of this regulation in that the facility failed to submit
      a one-time written notice to each treatment or storage facility receiving the waste and place a copy in
      the file as the facility could not provide a land disposal restriction notice for D018 hazardous waste
      that was transported to Unicat Services – TXR000081631 or VLS Bayport – TXR000082015. The
      facility offered for transport approximately 43,780 pounds of D018 hazardous waste to Unicat
      Services in 2014, approximately 14,359.4 pounds of D018 hazardous waste to VLS Bayport –
      TXR000082015 in 2015, and approximately 281.6 pounds to VLS Bayport – TXR000082015 in
      2016.
   F. N.C.G.S. 130A-294.1(e) – Apple, Inc. is in violation of this regulation in that the facility failed to pay
      an annual fee of one thousand four hundred dollars ($1,400) for Fiscal Year 2013-2014 and Fiscal
      Year 2014-2015, totaling two thousand eight hundred dollars ($2,800). Based on the information
      provided by the facility, the facility generated more than 2,200 pounds of hazardous waste and
      operated as a LQG during the months of March 2014, April 2014, May 2014, June 2014, July 2014,
      August 2014, September 2014, October 2014 November 2014, December 2014, May 2015, and June
      2015.


APPLE, INC                     CEI         FY2017                                                      9
Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 63 of 88
                        Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 64 of 88
LASERFICHE FILE TRANSMITTAL FORM
DIVISION OF WASTE MANAGEMENT
HAZARDOUS WASTE SECTION


Your Name:                     Ann Preston


Document Category:             Facility


Document Group:                Enforcement (E)


Document Type:                 Compliance Order (CO)


EPA ID:                        NCR000149526


Facility Name/Subject:         Apple Computer, Inc.


Document Date:                 10/05/2017


Description:                   Compliance Order Docket # 2017-047




Author:                        Julie S. Woosley


Branch/Unit:                   Compliance Branch-Resident Inspector Program


Facility/Site Address:         5977 Startown Rd


Facility/Site City:            Maiden


Facility/Site State:           North Carolina


Facility/Site Zipcode:         28650


Facility/Site County:          Catawba


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Date Received by File Room:


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                    Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 65 of 88

                                                                                                                              ROY COOPER
                                                                                                                                    Governor

                                                                                                                         MICHAEL S. REGAN
                                                                                                                                    Secretary

                                                                                                                           MICHAEL SCOTT
Waste Management                                                                                                                     Director
ENVIRONMENTAL QUALITY




                                                              October 5, 2017


          Thomas Jacobik, Operations Manager
          Apple Computer, Inc.
          P.O. Box 38085
          Charlotte, NC 28278

          Dear Mr. Jacobik:

          The compliance order dated October 2, 2017 had three errors that the Hazardous Waste
          Section discovered . The following changes were made:

                1. On page 2, #10 the June 12, 2015 was changed to October 28, 2016.
                2. On page 2, #11 the May 29, 2016 was changed to May 29, 2015.
                3. On page 2, #10 the June 12, 201 was changed to June 12, 2015.

          Please replace the October 2, 2017 compliance order with the corrected October 5, 2017
          compliance order. Apple's right to file a contested case petition will start with receipt of the
          October 5, 2017 compliance order.

          If you have any questions, please contact Ann Preston at (919) 676-1431 .

          Respectfully,




          Julie S. Woosley, Chief
          Hazardous Waste Section
          Division of Waste Management, NCDEQ

          Enclosures: October 5, 2017 Short Form Compliance Order with Administrative Penalty,
          Penalty Summary Worksheets and Fee Invoice

          cc:       Central File-Enforcement
                    Ann Preston




                                         State of North Carolina I Environmental Quality I Waste Management
                                 217 West Jones Street I 1646 Mail Service Center I Raleigh, North Carolina 27699-1646
                                                                     9197078200
                     Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 66 of 88
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 Waste Management
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                                                          October 5, 2017


CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Registered Agent for Apple Computer, Inc.
160 Mine Lake Ct
Ste 200
Raleigh, NC 27615-6417

RE:       Short Form Compliance Order with Administrative Penalty
          Apple Computer, Inc.
          NCR000149526
          Docket# 2017-047 Corrected

To Whom It May Concern:

You are listed with the Secretary of State's Office as the registered agent for Apple Computer, Inc. Enclosed is
a Short Form Compliance Order with an Administrative Penalty issued to Apple Computer, Inc. If you have any
questions, please contact Ann Preston at (919) 676-1431 .

Respectfully,



~ifV(
Julie S. Woosley, Chief
Hazardous Waste Section
Division of Waste Management, NCDEQ

Enclosures: Short Form Compliance Order with Administrative Penalty, Penalty Summary Worksheets and Fee
Invoice

cc:      Coy Reid, Catawba County Sheriff
         Mick Berry, Catawba County Manager
         Bryan Blanton, Catawba County Emergency Services Director
         Doug Urland, Catawba County Health Director
         Robert L. Smyre, Town of Maiden Mayor
         Todd herms, Town of Maiden Manager
         Tracy Ledford, Town of Maiden Police Chief
         Angela Edmonds, Mooresville Regional Administrative Office Manager
         Laurie Benton DiGaetano, EPA Region 4
         Central Files - Enforcement




                                               "7Nothing Compares~
                                       State of North Carolina I Environmental Quality I Waste Management
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                    Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 67 of 88

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                                                                                                                 MICHAEL SCOTT
                                                                                                                           Director
 Waste Management
 ENVIRONMENTAL QUALITV

                                                         October 5, 2017


CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Thomas Jacobik, Operations Manager
Apple Computer, Inc.
P.O. Box 38085
Charlotte, NC 28278

RE:      Short Form Compliance Order with Administrative Penalty
         Apple Computer, Inc.
         NCR000149526
         Docket# 2017-047 Corrected

Dear Mr. Jacobik:

Enclosed is a Short Form Compliance Order with Administrative Penalty ("Compliance Order") issued to Apple
Computer, Inc., for certain violations of the North Carolina Solid Waste Management Act, N.C.G.S. Chapter
130A, Article 9 (the "Act"), and the North Carolina Hazardous Waste Management Rules, 15A NCAC Subchapter
13A (the "Rules"). The Compliance Order describes the violations identified at your facility.

As a result of the violations of the Act and the Rules, pursuant to N.C.G.S. § 130A-22(a), an administrative
penalty of $40,589.46 is imposed in the Compliance Order. Apple Computer, Inc. may contest this Compliance
Order by filing a written petition for a contested case hearing within 30 days of receipt of this Compliance Order
in accordance with N.C.G.S. §§ 130A-22(e), 150B-23(a) and 1508-23.2. See the section entitled "Notice of Right
to File Contested Case Petition" in the attached Compliance Order. In addition, is assessed $2,773.74 for
investigative and inspection costs associated with the assessment of the civil penalty pursuant to
N.C.G.S. § 130A-22(j). The investigation and inspection cost assessments are due within 60 days. Apple
Computer, Inc.is required to pay for the years 2014-2015 and 2015-2016 annual large quantity generator
fees, tonnage fees, and for the year 2016-2017 an annual small quantity generator fee. A total amount of
$2,995.30 is required to be paid.

Please be advised that the Department of Environmental Quality has implemented a department-wide policy to
release all penalties assessed against facilities to the media. Therefore, the name of your facility and the penalty
amount that has been assessed against the facility may be released to the media.

If no contested case petition is filed, the administrative penalty must be paid by Apple Computer, Inc.
within 60 days of receipt of the Compliance Order by certified check or money order, payable to the
Division of Waste Management, and mailed to:

                               Julie S. Woosley, Chief
                               Hazardous Waste Section
                               1646 Mail Service Center
                               Raleigh, NC 27699-1646

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                                      State of North Carolina I Environmental Quality I Waste Management
                                   1646 Mail Service Center I 217 West Jones Street I Raleigh, NC 27699-1646
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                Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 68 of 88




If you desire to schedule an informal conference to discuss the Compliance Order, please contact Ann Preston
at (919) 676-1431. (Scheduling an informal conference will not extend the time limit for filing a contested case
petition.)

Respectfully,




Julie S. Woosley, Chief
Hazardous Waste Section
Division of Waste Management, NCDEQ

Enclosures: Short Form Compliance Order with Administrative Penalty, Penalty Summary Worksheets and
Fee Invoice

cc:
      Coy Reid, Catawba County Sheriff
      Mick Berry, Catawba County Manager
      Bryan Blanton, Catawba County Emergency Services Director
      Doug Urland, Catawba County Health Director
      Robert L. Smyre, Town of Maiden Mayor
      Todd herms, Town of Maiden Manager
      Tracy Ledford, Town of Maiden Police Chief
      Angela Edmonds, Mooresville Regional Administrative Office Manager
      Laurie Benton DiGaetano, EPA Region 4
      Central Files - Enforcement
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NC
 Waste Management
 ENVIRONMENTAL QUALITY
                                                                                                                 2017 INVOICE



                                                                              FACILITY LOCATION ADDRESS:
ATTENTION: ACCOUNTS PAYABLE                                                   THOMAS JACOBIK
APPLE INC                                                                     APPLE INC
5977 STARTOWN RD                                                              5977 STARTOWN RD
MAIDEN, NC 28650                                                              MAIDEN, NC 28650


     FACILITY EPA ID#         INVOICE#           INVOICE DATE             AMOUNT DUE             DUE DATE             ENTER AMOUNT PAID

NCR000149526                  HW76789             10/02/2017                 2,995.30           12/01/2017


A.    Fee Requirements: Pursuant to North Carolina General Statute 130A-294.1, a Facility must pay fee(s) based on its
      hazardous waste management activities. The fees are used to support government programs that ensure the safe
      management of hazardous waste. Failure to pay the required fees could result in an enforcement action with a penalty.

B.    Invoice amount is based on the generator status as of the invoice date and includes any past-due balances. A 10%
      late-payment penalty has been assessed for unpaid annual fee balances by fiscal year.

C.    In accordance with N.C.G.S. § 147-86.23, a facility may petition for waiver of any late-payment penalty
      but the Hazardous Waste Section will only grant a waiver for good cause shown.




         FACILITY STATUS                                 FEE                    TONNAGE                    AMOUNT DUE
     SMALL QUANTITY GENERATOR                           $175.00                   -------                                $175.00

                                                                                        PAST DUE                       $2,820.30
                                                                                            CREDIT                         $0.00
                                                                           TOTAL AMOUNT DUE                            $2,995.30

D. Remit Payment:

      To pay via eCheck or credit card, go to
      http://deq.nc.gov/about/divisions/waste-management/hazardous-waste-section/hw-epayments. You will
      need your facility's EPA ID# and invoice number, as well as your bank routing and account numbers for
      eChecks. There is no fee for electronic transfers. Partial payments are not allowed with this payment
      method.


      To pay via mail with a paper check or money order, please make payable to NC Hazardous Waste Section.
      Include EPA ID# and Invoice# on check. Please note per NC General Statute (G.S. 25-3-506), a $25.00
      processing fee will be charged on all returned checks. Please return a copy of this invoice with your payment


                                              ATTN:    NC DIVISION OF WASTE MANAGEMENT
                                                       HAZARDOUS WASTE SECTION
                                                       1646 MAIL SERVICE CENTER
                                                       RALEIGH, NC 27699-1646




NC Hazardous Waste Invoice
               Case 3:23-cv-04597-EMC Document 35-9 Filed 12/25/23 Page 70 of 88


                           North Carolina Department of Environmental Quality
                                     Division of Waste Management
                                        Hazardous Waste Section


In Re: Apple Computer, Inc.                          ) SHORT FORM COMPLIANCE ORDER
       NCR000149526                                  ) WITH ADMINISTRATIVE PENALTY
       Docket# 2017-047 Corrected


                                     PRELIMINARY STATEMENT

This Short Form Compliance Order with Administrative Penalty ("Compliance Order") is issued by the North
Carolina Department of Environmental Quality (the "Department"), Division of Waste Management (the
"Division") under the North Carolina Solid Waste Management Act, N.C.G.S. Chapter 130A, Article 9 (the "Act"),
and the North Carolina Hazardous Waste Management Rules, 15A NCAC Subchapter 13A (the "Rules"). Based
upon information received by the Division, the Division has determined that Apple Computer, Inc. ("Apple" or
"Facility"), violated certain requirements of the Act and the Rules as set forth in this Compliance Order.


                                     STATEMENT OF FACTS AND LAW

1.     The Department is required to enforce the Act and the Rules, which govern the management of
       hazardous waste. This authority, including the authority to assess and recover administrative penalties
       in accordance with N.C.G.S. § 130A-22, has been delegated to the Director of the Division. The Director
       has issued a sub-delegation of this authority, including the authority to assess and recover administrative
       penalties for violations of the Act and Rules, to the Chief of the Hazardous Waste Section (the "Section"),
       Julie S. Woosley .

2.     The United States Environmental Protection Agency ("EPA") has authorized North Carolina to operate the
       State Hazardous Waste Program in accordance with the Act and the Rules, in lieu of the federal Resource
       Conservation and Recovery Act ("RCRA") program.

3.     Apple is a foreign limited liability company formed under the laws of California. Apple is a "person" as
       defined in N.C.G.S. § 130A-290(a)(22).

4.     Apple operates the main Facility located at 5977 Startown Road, Maiden, Catawba County, NC 28650.
       Apple also has fuel cells on the parcel which is accessed through 2201 Elbow Road, Newton, NC 28658.
       The Facility operates primarily as a data center. The Facility includes server rooms, offices, maintenance,
       and various energy generation areas. The Facility notified the Section on October 4, 2010 that they may
       generate hazardous waste identified by EPA Hazardous Waste Codes D001, D002, D008, F001, F002,
       F003, and F005.

5.     On February 9, 2017, Ms. Heather Goldman, Environmental Senior Specialist; Mr. Sean Morris, Western
       Unit Compliance Branch Supervisor; and Mr. Brent Burch, Compliance Branch Head, all with the Section;
       conducted a Compliance Evaluation Inspection ("CEI") at the Facility to determine compliance with the
       Act and the Rules.

6.     At the time of the CEI, Apple was notified with the Section as a conditionally exempt small quantity
       generator ("CESQG") and appeared to be operating as a CESQG at the time of inspection. Based on
       bills of lading and hazardous waste manifests obtained after the CEI, the Facility was operating as a
       Large Quantity Generator ("LQG") during the months of March 2014, April 2014, June 2014, July 2014,
       October 2014, November 2014, December 2014, May 2015, and June 2015, and operated as a Small
                                                        1
                                                                                                     Apple Computer, Inc.
                                                                                              Docket # 2017-04 7 Corrected
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      Quantity Generator ("SQG") during the months of August 2014 and June 2016. A "conditionally exempt
      small quantity generator" is a generator who generates less than 100 kilograms of hazardous waste in a
      calendar month. A "large quantity generator" is a generator who generates 1000 kilograms or greater of
      hazardous waste in a calendar month. A "small quantity generator" is a generator who generates greater
      than 100 kilograms but less than 1000 kilograms of hazardous waste in a calendar month.

7.    Apple currently has no Hazardous Waste Storage Areas (HWSAs) on-site. The Facility shreds hard drives
      onsite and during the inspection Facility personnel estimated that one (1) to two (2) cubic yard boxes of
      shredded hard drives are generated per month. Additionally, the Facility has a used battery recycling
      program. At the time of inspection, one (1) small universal waste battery container was observed.

8.    Apple owns and operates Bloom Fuel Cells at the Facility. The fuel cell's function is to convert natural
      gas into electricity. These fuel cells contain desulfurization units (canisters) that use a catalyst to remove
      benzene and sulfur from natural gas. This process produces a spent catalyst, which potentially contains
      elevated levels of benzene (D018).

9.    On February 13, 2017, Ms. Goldman e-mailed an Apple representatives seeking information related to
      the Facility's management of the spent desulfurization catalyst; the waste determination for the spent
      catalyst; dimensions of the spent desulfurization units; concentration of benzene in the spent catalyst;
      any other RCRA characteristic or listed waste related to the spent catalyst; amount and weight of spent
      catalyst generated per month; and transportation records/bill of ladings for offsite shipments of spent
      desulfurization units for the past three years.

10.   On March 3, 2017, Mr. Scott Sidlow with Apple provided a letter that noted that "Bloom analyzed the
      spent catalyst in other, similar desulfurization units at other sites. Based on that analysis, Apple
      understands that this catalyst will at times have benzene above 0.5 mg/I. However, several canisters of
      spent catalyst tested below the 0.5 mg/I level. The spent catalyst generated at the Maiden site has not
      been tested". No supporting information was provided to demonstrate: (1) specific analytical results, (2)
      where the spent catalyst that was analyzed was generated, (3) when the analysis occurred, (4) how many
      samples were taken or (5) how many canisters were analyzed. The response also included two (2)
      hazardous waste manifests for D018 hazardous waste solid Benzene that was offered for transport from
      VLS - Bay Port (TXR000082015) on September 16, 2016 and October 28, 2016 to Clean Harbors. The
      response included one (1) Contract for Carriage shipping document, dated June 30, 2016, for the
      transport of desulfurization canister crates from the Apple Facility to VLS Recovery Services, LLC, 10201
      Bay Area Boulevard, Pasadena, TX 77507.

11.   On March 13, 2017, the Section received an additional response from Mr. Sidlow which included two (2)
      additional Contract for Carriage shipping documents. The documents had shipping dates of May 29, 2015
      and June 12, 2015.

12.   On March 28, 2017, Ms. Goldman emailed additional questions to Mr. Sidlow requesting reconciliation of
      information regarding shipments of spent fuel cell desulfurization units in 2014. Ms. Goldman specifically
      asked about an email dated May 11, 2015, from Mr. Nathan Fleischer with Apple, about four shipments
      of spent desulfurization material. Information contained in the May 11, 2015 email was not included with
      Apple's March 3, 2017 response, which did not contain 2014 shipment information. A copy of waste
      characterizations for the spent desulfurization materials removed from the Facility from 2014 - 2017 was
      also requested by Ms. Goldman on March 28, 2017.

13.   On March 31, 2017 Mr. Michael Steiger, with Apple, provided an e-mail response to Ms. Goldman. Mr.
      Steiger explained that in early 2015, a different catalyst was used in the desulfurization units that
      extended the time between unit canister removal and replacement. Mr. Steiger provided an outline of
      shipments of spent materials from the Facility. This information included the months, number of canisters
      replaced, and approximate weight of catalyst in kilograms. The response also included four hazardous
      waste manifests for hazardous waste solids, carrying the EPA Waste Code D018 for benzene, that was
      offered for transport to VLS Bayport, Pasaden, TX on July 30, 2015, July 30, 2015, September 16, 2016,
                                                       2
                                                                                                     Apple Computer, Inc.
                                                                                               Docket# 2017-047 Corrected
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      and October 28, 2016. Mr. Steiger also addressed the Section's request for a copy of waste
      characterizations for the spent desulfurization materials that were removed in 2014, 2015, 2016, and
      2017. Mr. Steiger's response stated that "Characterization was performed by Bloom based on generator
      knowledge in accordance with 40 C.F.R. 262.11." The results of the waste determination were not
      provided. No other information or supporting documentation was provided by Apple to demonstrate a
      waste characterization was performed on spent desulfurization materials generated from the Apple
      Facility. Based on the information provided it is unclear if the spent material exhibited hazardous
      constituents above hazardous waste levels. As noted in the March 3, 2017 response from Mr. Sidlow,
      the spent catalyst generated at the Apple Facility had not been tested. However, based on hazardous
      waste manifests obtained from the Facility the non-reclaimed material was managed as hazardous waste
      by VLS Bayport and Unicat Services.

14.   On April 19, 2017, Ms. Goldman requested shipping documents for spent catalyst transported in 2014,
      2015, 2016, and 2017 along with transporter information. In addition, Ms. Goldman requested clarification
      of who owns, operates, and manages the Bloom Fuel Cells. The Section also requested any shipping
      documents for the spent catalyst that was sent from Unicat to Clean Harbors in 2014.

15.   On April 24, 2017, Mr. Steiger responded via e-mail to the April 19th inquiry. The response included
      twenty-eight (28) hazardous waste manifests, eleven ( 11) Contract of Carriage transportation documents,
      and transporter information. Mr. Steiger clarified that Apple owns the fuel cells and Bloom Energy
      provides monitoring and maintenance of the fuel cells, as well as manages the removal, handling, and
      transport of the spent catalyst canisters. Mr. Steiger clarified that "Bloom Energy, the maintenance
      provider for the fuel cells, did not maintain documentation that correlated the contents of each individual
      desulfurization unit to a specific hazardous waste manifest". In addition, Mr. Steiger stated that "For the
      time frame in 2014 when desulfurization units were sent from Maiden, NC to Unicat, Bloom has provided
      all of the manifests for spent catalyst transported to TSDF facilities (attached), but these manifests reflect
      materials from all Bloom fuel cells sent to TSDF facilities during this time, and are not specific to materials
      from the Maiden, NC facility."

16.   At the time of the inspection, the Section was given a document claiming the MPU Exemption titled
      "Apple/Bloom Fuel Cells Desulfurization Units Waste Management". Apple claimed that the spent catalyst
      canisters, which are connected to Bloom Fuel Cells fall under the Manufacturing Process Unit ("MPU")
      Exemption found at 40 CFR 261.4(c). As explained in the October 3, 2016 EPA letter from the Office of
      Resource Conservation and Recovery regarding the Applicability of the MPU Exemption at 40 CFR
      261.4(c) to Filter Canisters, "disconnected canisters are not part of the manufacturing process". In
      addition, the October 3, 2016 EPA letter notes that "The disconnected canisters are a container of solid
      waste and the material contained inside the canister is a waste subject to RCRA regulations." The
      NCDEQ Hazardous Waste Section applies the exclusion 40 CFR 261.4(c) in a manner consistent with
      EPA's October 3, 2016 directives. The 40 CFR 261.4(c) exclusion does not apply to the spent catalyst
      canisters.

17.   Based on transportation documents and information provided by Facility personnel, Apple generated
      43,780 pounds of D018 hazardous waste spent catalyst between March 12, 2014 and December 5, 2014.
      The waste was transported in (11) shipments from Apple in Maiden, NC to Unicat Services, located in
      Alvin, TX. Unicat Services accepted the spent catalyst canisters and repackaged the spent material
      before manifesting and shipping the hazardous waste to either Veolia ES Technical Solutions -
      TXD000838896; Clean Harbors San Leon, Inc. - TXD981053770; or Rineco - ARD981057870, which
      are all notified as RCRA permitted treatment, storage & disposal facilities. The hazardous waste
      manifests, prepared by Unicat Services, listed the generator of the spent catalyst waste as either Bloom
      Energy@ Unicat Services or Bloom Energy- TXR000081631. Unicat Services - TXR000081631 was
      notified in RCRAINFO (which is EPA's comprehensive information system) as a Large Quantity
      Generator at the time of the 2014 shipments. Unicat Services was not notified as a permitted TSDF.

      In addition, based on transportation documents and information provided by Facility personnel, Apple
      generated 14,641 pounds of spent catalyst (D018) between May 2015 and June 2016. This waste was
                                                         3
                                                                                                       Apple Computer, Inc.
                                                                                                Docket # 2017-047 Corrected
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      transported over three (3) shipments from Apple in Maiden, NC to VLS Recovery Services, LLC (VLS
      Bayport), located in Pasadena, TX. The spent material was treated at VLS Bayport by separating out
      copper, with the remaining hazardous waste materials manifested and shipped to Clean Harbors San
      Leon, Inc. - TXD981053770, which is a permitted TSDF. The hazardous waste manifests, prepared by
      VLS Bayport, listed the generator of the spent catalyst waste as VLS Bayport. VLS Bayport -
      TXR000082015 was notified as a transfer facility and a Large Quantity Generator at the time May & June
      2015 shipments. VLS Bayport was notified as a Large Quantity Generator at the time of the June 2016
      shipment. VLS Bayport was not notified a permitted TSDF.


18.   As a result of the February 9, 2017 CEI, the Division has determined that Apple violated the following Rules:

      a. 40 CFR 262.11:

             i.      Pursuant to 40 CFR 262.11, adopted by reference at 15A NCAC 13A .0107(a), a person
                     who generates a solid waste, as defined in 40 CFR 261.2, must determine if that waste is
                     a hazardous waste using the following method:

                             (a) He should first determine if the waste is excluded from regulation under 40
                             CFR 261.4.

                             (b) He must then determine if the waste is listed as a hazardous waste in Subpart
                             D of 40 CFR Part 261.

                             (c) For purposes of compliance with 40 CFR part 268, or if the waste is not listed
                             in Subpart D of 40 CFR Part 261, the generator must then determine whether the
                             waste is identified in Subpart C of 40 CFR Part 261 by either:

                                  (1) Testing the waste according to the methods set forth in Subpart C of 40
                                  CFR Part 261, or according to an equivalent method approved by the
                                  Administrator under 40 CFR 260.21; or

                                  (2) Applying knowledge of the hazard characteristic of the waste in light of the
                                  materials or the processes used.

                             (d) If the waste is determined to be hazardous, the generator must refer to Parts
                             261, 264, 265, 266, 267, 268, and 273 of this chapter for possible exclusions or
                             restrictions pertaining to management of the specific waste.

             ii.     Apple violated 40 CFR 262.11, in that the Facility failed to conduct a proper waste
                     determination for spent fuel cell filter material. Apple made a claim that the spent catalyst
                     material generated as part of the Bloom Fuel Cells would fall under the Manufacturing
                     Process Unit exclusion found at 40 CFR 261.4(c). As explained in the October 3, 2016 EPA
                     letter from the Office of Resource Conservation and Recovery regarding the Applicability of
                     the Manufacturing Process Unit (MPU) Exemption at 40 CFR 261.4(c) to Filter Canisters,
                     "disconnected canisters are not part of the manufacturing process". In addition, the October
                     3, 2016 letter notes that "The disconnected canisters are a container of solid waste and the
                     material contained inside the canister is a waste subject to RCRA regulations." The NCDEQ
                     Hazardous Waste Section applies the exclusion 40 CFR 261.4(c) in a manner consistent
                     with EPA's October 3, 2016 directives. The 40 CFR 261.4(c) exclusion does not apply to
                     the spent catalyst canisters.

      b. 40 CFR 262.12(c):

             i.      Pursuant to 40 CFR 262. 12(c), adopted by reference at 15A NCAC 13A .0107(a), a
                                                  4
                                                                                                    Apple Computer, Inc.
                                                                                              Docket# 2017-047 Corrected
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                 generator must not offer his hazardous waste to transporters or to treatment, storage, or
                 disposal facilities that have not received an EPA identification number.

           ii.   Apple violated 40 CFR 262.12(c), in that it offered D018 hazardous waste to a transporter
                 that had not received an EPA identification number. Also, Apple offered hazardous waste to
                 Unicat Services and VLS Recovery Services who are not permitted TSDF's.

c. 40 CFR 262.20(a)(1 ):

           i.    Pursuant to 40 CFR 262.20(a)(1), adopted by reference at 15A NCAC 13A .0107(b),
                 adopted by reference at 15A NCAC 13A .0107(b), a generator who transports, or offers for
                 transport a hazardous waste for offsite treatment, storage, or disposal, or a treatment,
                 storage, and disposal facility who offers for transport a rejected hazardous waste load, must
                 prepare a Manifest (0MB Control number 2050-0039) on EPA Form 8700-22, and, if
                 necessary, EPA Form 8700-22A, according to the instructions included in the appendix to
                 this part.

      ii.        Apple violated 40 CFR 262.20(a)(1 ), in that they offered for transport hazardous waste for
                 offsite treatment, storage, or disposal and failed to prepare a Manifest (0MB Control
                 number 2050-0039) on EPA Form 8700-22.                 The Facility offered for transport
                 approximately 43,780 pounds of D018 hazardous waste to Unicat Services in 2014,
                 approximately 14,359 pounds of D018 hazardous waste to VLS Bayport in 2015, and
                 approximately 281 pounds D018 hazardous waste to VLS Bayport in 2016. This material
                 was transported using a Contract for Carriage document and not a hazardous waste
                 manifest.

d. 40 CFR 262.41 (a):

      i.         Pursuant to 40 CFR 262.41(a), adopted by reference at 15A NCAC 13A .0107(d), a
                 generator who ships any hazardous waste off-site to a treatment, storage or disposal facility
                 within the United States must prepare and submit a single copy of a Biennial Report to the
                 Regional Administrator by March 1 of each even numbered year. The Biennial Report must
                 be submitted on EPA Form 8700-13A, must cover generator activities during the previous
                 year.

      ii.         Apple violated 40 CFR 262.41 (a), in that they failed to prepare and submit a single copy
                  of a Biennial Report to the NCDEQ Hazardous Waste Section by March 1, 2016 covering
                  generator activities during the previous year. The Facility generated and offered for
                  transport approximately 14,359 pounds of hazardous spent catalyst waste during the
                  months of May 2015 and June 2015.

e. 268.7(a)(8):

      i.         Pursuant to 40 CFR 268.7(a)(8), adopted by reference at 15A NCAC 13A .0112(a),
                 generators must retain on-site a copy of all notices, certifications, waste analysis data,
                 and other documentation produced pursuant to this section for at least three years from
                 the date that the waste that is the subject of such documentation was last sent to on-site
                 or off-site treatment, storage, or disposal. The three year record retention period is
                 automatically extended during the course of any unresolved enforcement action regarding
                 the regulated activity or as requested by the Administrator. The requirements of this
                 paragraph apply to solid wastes even when the hazardous characteristic is removed prior
                 to disposal, or when the waste is excluded from the definition of hazardous or solid waste
                 under 40 CFR 261.2 through 261.6, or exempted from Subtitle C regulation, subsequent
                 to the point of generation.

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                                                                                                Apple Computer, Inc.
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               ii.      Apple violated 40 CFR 268.7(a)(8), in that they failed to submit a one-time written notice
                        to each TSDF receiving the waste and place a copy in the file as the Facility could not
                        provide a land disposal restriction notice for 0018 hazardous waste that was transported
                        to Unicat Services or VLS Bayport. Apple offered for transport approximately 43,780
                        pounds of 0018 hazardous waste to Unicat Services in 2014, approximately 14,359.4
                        pounds of 0018 hazardous waste to VLS Bayport in 2015, and approximately 281 .6
                        pounds of 0018 hazardous waste to VLS Bayport in 2016.


                                           ADMINISTRATIVE PENALTY

N.C.G.S. § 130A-22(a) authorizes an administrative penalty of up to $32,500.00 per day for each violation of the
hazardous waste provisions of the Act, Rules or any order issued pursuant to the hazardous waste provisions of
the Act. N.C.G.S. § 130A-22(d) sets forth the factors to be considered in determining the administrative penalty
which include the degree and extent of the harm caused by the violation and the cost of rectifying the damage.

15A NCAC 13B .0702 sets forth specific criteria to be considered in addressing the statutory assessment factors
which include the type of violation, type of waste involved, duration of the violation, cause of the violation, potential
effect on public health and the environment, effectiveness of response measures taken by the violator, damage to
private property and the history of non-compliance.

After careful consideration of each factor above, penalties are assessed as follows against Apple for the violations
set out in this Compliance Order: for the violation set forth in paragraphs 18. a. $32,914.12 and for the violations
set forth in paragraphs 18.b., c., d. and e. $7,675.34. Accordingly, a total penalty is imposed in the amount of
$40,589.46.


                                  CONDITIONS FOR CONTINUED OPERATION

Based upon the foregoing, Apple is hereby ordered to take the following actions:

1.      Within sixty (60) days, Apple shall submit the amount of the administrative penalty, by certified check or
        money order for $40,589.46, and payable to the Division of Waste Management. The payment should be
        mailed to:

                                             Julie S. Woosley, Chief
                                             Hazardous Waste Section
                                             1646 Mail Service Center
                                             Raleigh, NC 27699-1646

2.     Apple shall immediately correct all violations as stated in this Compliance Order.

3.     Within sixty (60) days, Apple shall submit the assessed cost of $2,773.74 for investigative and inspection
       costs associated with the assessment of the civil penalty by certified check or money order, and payable
       to the Division of Waste Management. The payment should be mailed to:

                                               Julie S. Woosley, Chief
                                              Hazardous Waste Section
                                              1646 Mail Service Center
                                               Raleigh, NC 27699-1646

4.     Apple is subject to the provisions of N.C.G.S. § 130A-294.1 (e), a person who generates 1,000 kilograms
       or more of hazardous waste, in any calendar month during the year beginning 1 July and ending 30 June,
       shall pay an annual fee of one thousand four hundred dollars ($1,400). At the time of the CEI Apple owed

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                                                                                                          Apple Computer, Inc.
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       for the years 2014-2015 and 2015-2016, a total amount of $2,800.00 must be paid within sixty (60) days
       of receipt of this Compliance Order for acting as a large quantity generator Facility. (See Attached
       Invoice)

5.     Apple is subject to the provisions of N.C.G.S. §130A-294.1 (g), stating that a person who generates one
       kilogram or more of acute hazardous waste or 1,000 kilograms or more of hazardous waste in any
       calendar month during the calendar year shall pay, in addition to any fee under subsections (e) and (f) of
       this section, a tonnage fee of seventy cents ($0.70) per ton or any part thereof of hazardous waste
       generated during that year up to a maximum of 25,000 tons. The Section calculated for calendar years
       2014 and 2015 a total of 29 tons generated. A total amount of $20.30 must be paid within sixty (60) days
       of receipt of this Compliance Order for large quantity generator tonnage. (See Attached Invoice)

6.     Apple is subject to the provisions of N.C.G.S. § 130A-294.1(f), a person who generates 100 kilograms or
       more of hazardous waste in any calendar month during the year beginning 1 July and ending 30 June but
       less than 1000 kilograms of hazardous waste in each calendar month during that year shall pay an
       annual fee of one hundred seventy-five dollars ($175.00). At the time of the CEI Apple owed for the years
       2016-2017, a total amount of $175.00 must be paid within sixty (60) days of receipt of this Compliance
       Order for acting as a small quantity generator Facility. (See Attached Invoice)


                              POTENTIAL CONSEQUENCES OF FAILURE TO COMPLY

Apple is hereby advised that, pursuant to N.C.G.S. § 130A-22, each day of continued violation of any requirement
of the Act or the Rules constitutes a separate violation for which an additional penalty of up to $32,500.00 per
day may be imposed. If the violation continues, Apple may also be subject to further enforcement, including
injunctive action, to prohibit any further generation of hazardous waste and such further relief as may be
necessary to achieve compliance with the Act and Rules.


                             NOTICE OF RIGHT TO FILE CONTESTED CASE PETITION

Apple has the right to file a contested case petition regarding a matter of law, material fact, requirement, or the
penalty set forth in this Compliance Order as allowed by N.C.G.S. § 1508-23. In accordance with N.C.G.S. §§
130A-22(e), 1508-23(a) and 1508-23.2, any petition for a contested case hearing must be filed with the Office
of Administrative Hearings, 6714 Mail Service Center, Raleigh, NC 27699-6700, along with the appropriate filing
fee set by the Office of Administrative Hearings, within 30 days of receipt of the Compliance Order. A copy of
the petition for a contested case hearing must also be served on the Division by sending a copy of the petition
to:
                                                         William F. Lane
                                Process Agent for the N.C. Department of Environmental Quality
                                                     1601 Mail Service Center
                                                    Raleigh, NC 27699-1601

Additional information concerning the Office of Administrative Hearings, filing fees for a contested case petition
and the appeal process may be found on the official website for the Office of Administrative Hearings, located at
www.oah.state .nc.us or by calling (919) 431-3000.

If a petition for contested case is not timely filed with the Office of Administrative Hearings and served on the
Department, payment of the administrative penalty becomes due within 60 days after receipt of the Compliance
Order. If a contested case petition is timely filed and served, payment of the administrative penalty is due within
60 days of receipt of a written copy of the final agency decision. If payment is not received as required, the
Secretary of the Department of Environmental Quality shall request the Attorney General to commence a civil
action in Superior Court to recover the amount of the administrative penalty.


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                  This the 7-tr\ day of D ~ , 2017


                  By:
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                  Julie s~ OOS:ciie
                  Hazardous Waste Section




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                                                                  Apple Computer, lnc.
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                                                             Division of Waste Management
                                                                Hazardous Waste Section
                                                              Penalty Summary Worksheet


Facility Name:                          Apple
EPA Id. Number:                         NCR0OO 149526
Docket#:                                2017-047 Corrected
Regulation(s) Violated:                 18. a. of the Compliance Order
Site Information:                       Hazardous waste codes: DO I 8
                                        Distance to residences: 0.27 miles
                                        Number of people involved: not provided (Confidential)

ISA NCAC 13B .0702 - Civil Penalty Standards:

Consider: (1)     Nature of the violation and degree and extent of harm, including at least the following:

                            (i)    Type of violation: failed to conduct a proper waste determination for spent fuel cell filter material. Apple made a claim that the
                                   spent catalyst material generated as part of the Bloom Fuel Cells would fall under the Manufacturing Process Unit exclusion found
                                   at 40 CFR 261.4(c). As explained in the October 3, 2016 EPA letter from the Office of Resource Conservation and Recovery
                                   regarding the Applicability of the Manufacturing Process Unit (MPU) Exemption at 40 CFR 261.4(c) to Filter Canisters,
                                   "disconnected canisters are not part of the manufacturing process". In addition, the October 3, 2016 letter notes that "The
                                   disconnected canisters are a container of solid waste and the material contained inside the canister is a waste subject to RCRA
                                   regulations." The NCDEQ Hazardous Waste Section concurs with the EPA's position and does not agree with Apple's claim that
                                   40 CFR 261.4(c) applies to spent materials removed from the Bloom Fuel Cells. The 40 CFR 261.4(c) exclusion would not be
                                   applicable to the spent catalyst;

                            (ii)   Type of waste involved: benzene;

                            (iii) Duration and gravity of the violation: duration, degree of deviation and nature and degree of harm were evaluated to determine
                                  gravity;

                            (iv) Cause (whether resulting from a negligent, reckless or intentional act or omission): negligent;

                            (v)    Potential effect on public health and the environment: yes;

                                   Media for Exposure: direct contact, air, surface water, ground water and soil;

                                   Human Health Effect: eyes, skin, nasal, throat lung irritant at ppm levels. CNS effects. Skin exposure causes reddening, burning,
                                   edema, may cause systemic toxicity. Corneal damage. Inhalation at moderate concentrations may cause pallor, dizziness &
                                   excitation, flushing, labored breathing, chest constriction, headache, weakness. Inhalation of higher concentrations may cause
                                   euphoria, excitation, fatigue, cardiac dysrhythmias, seizures, coma, death. Women breathing high levels over many months
                                   experienced irregular menstrual periods, & a decrease in size of ovaries. Hemorrhagic pneumonitis highly likely if aspirated into
                                   lung. Ingestion of high levels - vomiting, irritation of oral membranes, stomach, GI tract; nausea, vomiting, dizziness, sleepiness,
                                   CNS & respiratory depression, convulsions, loss of consciousness, delirium, rapid or irregular heartbeat, death. Long-term
                                   (chronic) exposure (2: l year) causes harmful effects on bone marrow, hematological effects, anemia & excessive bleeding, damage
                                   to immune system function, disruption of menstrual cycle, spontaneous abortion, stillbirth, increased likelihood of developing
                                   diabetes. Acute exposure deaths due to ventricular fibrillation. An inhalation & ingestion carcinogen (Group I), causing acute
                                   leukemia, aplastic anemia, myeloblastic leukemia. Genotoxic (damages genetic material);

                                   Effect on the Environment: Very flammable, with low flashpoint. Very water-soluble. VP= 95 mm Hg, exists as vapor in ambient
                                   air. Vapors photo-chemically degraded in the atmosphere, with half-life of-13 days. Removed from air by rain. High mobility in
                                   soil (Log Koc = 1.9). Expected to volatilize from soil & water surface. Does not adsorb to soil, or sediment or suspended particles
                                   in aquatic environment. Low bioconcentration potential in aquatic organisms. Aerobically biodegraded in soil and aquatic
                                   environment. Little to no anaerobic biodegradation in aquatic environment. Genotoxic to animals. An animal carcinogen, causing
                                   tumor development in a wide spectrum of tissues, including blood-lymphoma, leukemia), oral & nasal cavities, liver, stomach,
                                   lung, reproductive organs, mammary glands. Effects of high exposures include tumors, skeletal & brain defects, cardiac &
                                   reproductive deficits, immunotoxicity, direct toxicity to the bone marrow & blood-forming tissues. Inhalation exposure of pregnant
                                   animals resulted in low birth weights, delayed bone formation, bone marrow damage. Causes reproductive & growth deficits in
                                   fish, shellfish;




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Penalty Summary Worksheet

Facility Name:           Apple
EPA Id. Number:          NCR000149526
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                         (vi) Effectiveness of responsive measures taken by the violator: not applicable;

                         (vii) Damage to private property: not applicable;

               (2)       Cost of rectifying any damage: not applicable;

               (3)       Amount of money the violator saved by noncompliance: $26,414.12;

               (4)       Previous record: none.


  ASSESSMENT MATRIX                                               Degree of Deviation from Requirements

                                                          MAJOR                    MODERATE                        MINOR
                                                   $6,500-$1,300                $5,200-$1,000               $3,800-$700
  Nature and Degree of      MAJOR
  Harm                                             $2,800-$500                  $2,000-$300                 $1,300-$200
                            MODERATE
                                                   $800-$130                    $400-$130                   $130
                            MINOR

       Value from Assessment Matrix           = $6,500.00
       +
       Multi-week/Event
       # of weeks/events x penalty            = not applicable
       +
       Compliance History
       +
       I 0% per repeat violation              =not applicable
       +
       Economic Benefit                       = $26,414.12
       Any other notations:


        Total penalty assessed                = $32,914.12


                                                                     Date




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                                                              Division of Waste Management
                                                                 Hazardous Waste Section
                                                               Penalty Summary Worksheet

Facility Name:                             Apple
EPA Id. Number:                            NCR000149526
Docket#:                                   2017-047 Corrected
Regulation(s) Violated:                    18. b., c., d. and e. of the Compliance Order

Site Information:                          Hazardous waste codes: DO 18
                                           Distance to residences: 0.27 miles
                                           Number of people involved: not provided (Confidential)


15A NCAC 13B .0702 - Civil Penalty Standards:

Consider: (1)       Nature of the violation and degree and extent of harm, including at least the following:

                              (i)     Type of violation: Apple offered DO 18 hazardous waste to a transporter that had not received an EPA identification number. Also,
                                      Apple offered hazardous waste to Unicat Services and VLS Recovery Services who are not permitted TSDF's; offered for transport
                                      a hazardous waste for offsite treatment, storage, or disposal and failed to prepare a Manifest (0MB Control number 2050-0039)
                                      on EPA Fonn 8700-22. The Facility offered for transport approximately 43,780 pounds of D018 hazardous waste to Unicat
                                      Services in 2014, approximately 14,359 pounds ofD018 hazardous waste to VLS Bayport in 2015, and approximately 281 pounds
                                      of DO 18 hazardous waste to VLS Bayport in 2016. This material was transported using a Contract for Carriage document and not
                                      a hazardous waste manifest; failed to prepare and submit a single copy of a Biennial Report to the NCDEQ Hazardous Waste
                                      Section by March 1, 2016 covering generator activities during the previous year. The Facility generated and offered for transport
                                      approximately 14,359 pounds of hazardous spent catalyst waste during the months of May 2015 and June 2015; and failed to
                                      submit a one-time written notice to each TSDF receiving the waste and place a copy in the file as the Facility could not provide a
                                      land disposal restriction notice for D018 hazardous waste that was transported to Unicat Services or VLS Bayport. Apple offered
                                      for transport approximately 43,780 pounds ofDOl8 hazardous waste to Unicat Services in 2014, approximately 14,359.4 pounds
                                      ofD018 hazardous waste to VLS Bayport in 2015, and approximately 281.6 pounds ofD018 hazardous waste to VLS Bayport in
                                      2016;

                               (ii)   Type of waste involved: Benzene;

                               (iii) Duration and gravity of the violation: duration, degree of deviation and nature and degree of harm were evaluated to determine
                                     gravity;

                               (iv) Cause (whether resulting from a negligent, reckless or intentional act or omission): negligent;

                               (v)    Potential effect on public health and the environment: yes;

                                      Media for Exposure: direct contact, air, surface water, ground water and soil;

                                      Human Health Effect: eyes, skin, nasal, throat lung irritant at ppm levels. CNS effects. Skin exposure causes reddening, burning,
                                      edema, may cause systemic toxicity. Corneal damage. Inhalation at moderate concentrations may cause pallor, dizziness &
                                      excitation, flushing, labored breathing, chest constriction, headache, weakness. Inhalation of higher concentrations may cause
                                      euphoria, excitation, fatigue, cardiac dysrhythmias, seizures, coma, death. Women breathing high levels over many months
                                      experienced irregular menstrual periods, & a decrease in size of ovaries. Hemorrhagic pneumonitis highly likely if aspirated into
                                      lung. Ingestion of high levels - vomiting, irritation of oral membranes, stomach, GI tract; nausea, vomiting, dizziness, sleepiness,
                                      CNS & respiratory depression, convulsions, loss of consciousness, delirium, rapid or irregular heartbeat, death. Long-term
                                      (chronic) exposure (?.I year) causes harmful effects on bone marrow, hematological effects, anemia & excessive bleeding, damage
                                      to immune system function, disruption of menstrual cycle, spontaneous abortion, stillbirth, increased likelihood of developing
                                      diabetes. Acute exposure deaths due to ventricular fibrillation. An inhalation & ingestion carcinogen (Group I), causing acute
                                      leukemia, aplastic anemia, myeloblastic leukemia. Genotoxic (damages genetic material);

                                      Effect on the Environment: Very flammable, with low flashpoint. Very water-soluble. VP= 95 mm Hg, exists as vapor in ambient
                                      air. Vapors photo-chemically degraded in the atmosphere, with half-life of-13 days. Removed from air by rain. High mobility in
                                      soil (Log Koc= 1.9). Expected to volatilize from soil & water surface. Does not adsorb to soil, or sediment or suspended particles
                                      in aquatic environment. Low bioconcentration potential in aquatic organisms. Aerobically biodegraded in soil and aquatic
                                      environment. Little to no anaerobic biodegradation in aquatic environment. Genotoxic to animals. An animal carcinogen, causing
                                      tumor development in a wide spectrum of tissues, including blood-lymphoma, leukemia), oral & nasal cavities, liver, stomach,
                                      lung, reproductive organs, mammary glands. Effects of high exposures include tumors, skeletal & brain defects, cardiac &
                                      reproductive deficits, immunotoxicity, direct toxicity to the bone marrow & blood-forming tissues. Inhalation exposure of pregnant
                                      animals resulted in low birth weights, delayed bone formation, bone marrow damage. Causes reproductive & growth deficits in
                                      fish, shellfish;




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Penalty Summary Worksheet

Facility Name:           Apple
EPA Id. Number:          NCR000149526
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                         (vi) Effectiveness of responsive measures taken by the violator: not applicable;

                         (vii) Damage to private property: not applicable;

               (2)       Cost of rectifying any damage: not applicable;

               (3)       Amount of money the violator saved by noncompliance: economic benefit: $1,175.34;

               (4)       Previous record: none.




  ASSESSMENT MATRIX                                               Degree of Deviation from Requirements

                                                          MAJOR                    MODERATE                        MINOR
                                                   $6,500-$1,300                $5,200-$1,000               $3,800-$700
  Nature and Degree of      MAJOR
  Harm                                             $2,800-$500                  $2,000-$300                 $1,300-$200
                            MODERATE
                                                   $800-$130                    $400-$130                   $130
                            MINOR


       Value from Assessment Matrix           = $6,500.00
       +
       Multi-week/Event
       # of weeks/events x penalty            = not applicable
       Compliance History
       +
       10% per repeat violation               =not applicable
       +
       Economic Benefit                       =$1,175.34
       Any other notations:


        Total penalty assessed                = $7,675.34



                                                                     Date




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                                                                                                                                 Apple Computer, Inc.
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                     MOTION FOR JUDICIAL NOTICE
 9
                              EXHIBIT
10
11
12                                   SECTION:
13
14
                                North Carolina
15
                              Dept. of Env. Quality
16                             Haz. Waste Section
17                                   v Apple
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19                             Maiden Data Center
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21
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                                              Document
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                                                                project fined     12/25/23 violations
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